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                                                                   Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                                    For the
                           Central District of Illinois



JAMAAL APPLEWHITE,

     Plaintiﬀ,

     v.                                   Case no.: 4:18-cv-04106-SLD-JEH

DEERE & COMPANY, INC., a Delaware
Corporation,

     Defendant.


  PLAINTIFF’S RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGEMENT
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INTRODUCTION

        In support of its Motion for Summary Judgment, Defendant Deere & Company

("Deere"), who denies Plaintiﬀ's claims of FMLA interference and retaliation, filed its fallacious

brief in the course of litigation. To the extent they are even relevant, Defendant's naked

assertions in its brief, and its underlying documents, do not support its claims. Rather, the

parties agree on the material facts properly supported by the record which establish that Deere

interfered with Plaintiﬀ's right to take FMLA leave, and terminated Plaintiﬀ for reasons that

violated Plaintiﬀ’s rights under the FMLA.

       Notwithstanding the undisputed record, in support of its Defense, Defendant: 1. claims

Plaintiﬀ exhibited increasing attendance issues before his request for FMLA leave; 2. argues

that it granted telework privileges to support Plaintiﬀ’s FMLA need; 3. aﬃrms revoking Plaintiﬀ’s

telework privileges for using them the same weeks of taking leave; 4. bases Plaintiﬀ’s

termination on his noncompliance to both its work start time (before and after it was

established); and 5. reasons that all acts of interference before June 12, 2016 are time-barred.

Truth to the matter, had Plaintiﬀ not elected to take leave to take care of his mother, especially

intermittently, Defendant would not have established a work environment where Plaintiﬀ would

be considered late to work, which it later used as a basis for the termination of his

employment. A reasonable jury, based oﬀ the undisputed facts, would determine that

Defendant’s claims are inconsistent, and it is guilty. It is also evident that, as a matter of law,

the Defendant’s motion for summary judgment should be denied, while granting that of the

Plaintiﬀ. Defendant, only after the commencement of litigation, claims that Plaintiﬀ’s increasing

attendance issues before his request for FMLA in December 2015 contributed to its decision to

terminate his employment. However, it is important to note that, during this period, Plaintiﬀ

received nothing but exemplary appraisals for his fiscal year 2015 and 2016 work performance.

After the Plaintiﬀ requested FMLA leave in December 2015, participated in complaints against

Defendant in February and March, and increased leave usage, Defendant revoked his telework

privileges and required him to begin work by a specific time. Here, it is important to note that it
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is undisputed, the revocation of Applewhite’s telework privileges and the requirement for him to

begin work by a specific time, resulted from his attempt to take FMLA leave on May 16, and

were not conditions similarly situated employees, who had not invoked their rights for

intermittent FMLA leave, suﬀered. One of the similarly situated employees, Steuer, had taken

continuous FMLA leave, but Plaintiﬀ’s intermittent leave diﬀered in that Defendant’s Human

Resources staﬀ found it so diﬃcult to manage that they complained about it, and worked

amongst themselves to discourage Defendant from using it. The undisputed evidence shows

that they preferred that he use FMLA leave continuously. To discourage Plaintiﬀ from

participating in FMLA rights aﬀorded to him, Defendant: prematurely requested Plaintiﬀ

recertify before his mother’s condition was expected to end, disallowed him enough time to

complete the recertification, denied his suﬃcient requests for leave, issued him warnings for

protected absences, revoked his telework privileges, removed him from leadership

responsibilities, denied him an annual pay increase, stalked him, refused to answer his

questions regarding is FMLA entitlement, treated him diﬀerently than similarly situated

employees, and more. In May 2016, only after Defendant constrained Plaintiﬀ to the

discriminatory and restrictive work environment and wrongfully denied his FMLA leave

requests, it began considering him late to work and reprimanding him for it. The undisputed

facts confirm Plaintiﬀ’s employment would not have been terminated had his FMLA leaves of

absence on May 16, June 2, and June 15 been excused.

       Prior to Plaintiﬀ’s FMLA leave request, his alleged tardiness and absence to meetings

cited by Defendant were excused and not addressed. This is why the record on each of these

points shows Mr. Applewhite, prior to taking leave, received exemplary work performance

reviews, with no mention of, or discipline for, attendance issues. Furthermore, the practice at

Deere was to begin and end meetings late, and this was true for the team to which Plaintiﬀ

belonged. Consequently, Defendant referenced Plaintiﬀ’s absence and tardiness to meetings

as the basis for the termination of his employment, after Plaintiﬀ filed this action, only to

protect itself. Immediately after Plaintiﬀ began utilizing FMLA leave, Defendant started to
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discourage him from further using it. The record further shows that Defendant’s retaliatory

actions were willful, and that Defendant was intentional about covering up its discriminatory

motives. Such evidence invokes the statues three year statue of limitations. Defendant’s

motion for summary judgment is therefore not legally viable.

        Defendant’s claim that it is entitled to its summary judgment on Plaintiﬀ’s retaliation

claim because there is no causal connection between Plaintiﬀ’s termination and his FMLA

leave, and Plaintiﬀ presents no evidence that the basis for his termination was pretextual must

fail. The law in this jurisdiction is uniform that in wrongful termination actions under federal

employment statues, a plaintiﬀ survives summary judgment on his retaliatory discharge claim

when he presents evidence: 1. that he engaged in protected activity; 2. he suﬀered an adverse

employment action; and 3. a causal connection exists between the two. Plaintiﬀ does precisely

that.

        Plaintiﬀ, in this case, presents a preponderance of evidence that he suﬀered an

assortment of related adverse actions when he attempted to take leave or complained about

the violation of his rights, and the basis was pretextual. He establishes a causal connection

between Defendant’s adverse actions and his protected activities by proving that: 1. the

temporal proximity between the chain of adverse actions that concluded in the termination of

his employment and his participation in protected activities were unusually suggestive of

retaliation; 2. Defendant acknowledges a retaliatory motive for its materially adverse action;

and 3. Defendant implemented several tactics that would discourage a reasonable individual

from utilizing leave and reporting violations of the FMLA.

        Defendant terminated Plaintiﬀ’s employment in June of 2016, but as soon as Plaintiﬀ

returned from his year of personal leave in March 2015, it began interfering with his right, and

setting the stage so that Plaintiﬀ’s termination of employment appeared to be based on non-

retaliatory reasons. Plaintiﬀ’s successful fight for his FMLA leave rights prior to 2015, and his

continued participation in FMLA rights upon his return provoked Deere’s illegal behaviors.
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       For all of the foregoing reasons, and as further discussed below, the Court should enter

summary judgment in favor of Plaintiﬀ, and against Defendant.

UNDISPUTED MATERIAL FACTS (“UMF”)

List by number each fact from Section B of the motion for summary judgment which is

conceded to be undisputed and material.

       1.      Undisputed.

       3.      See additional material facts. Undisputed that Matter was Plaintiﬀ’s direct

supervisor. Plaintiﬀ objects to Paragraph 3 to the extent that it suggests cost analysis projects

was his main or only job responsibility. Mr. Applewhite’s primary responsibility was to plan,

execute, manage, and close the CART project plan so that the project was completed on time,

and within scope and budget. [ECF No. 57–1 Page 13.]

       7.      Undisputed. See additional material facts.

       9.      See additional material facts. Undisputed that Matter, in October 2015, agreed

to allow Plaintiﬀ to telework on Monday of each week. However, Defendant objects to the

remainder of the allegations in Paragraph 9 as unsupported by the cited evidence and to the

extent that it makes legal arguments. The telework arrangement that Matter permitted did not

make it possible for Plaintiﬀ to spend each weekend in Chicago. Plaintiﬀ was able to spend

each weekend in Chicago before Matter permitted the telework arrangement.

       15.     Undisputed.

       19.     Undisputed. See additional material facts.

       22.     Undisputed. See additional material facts.

       28.     Undisputed.

       30.     Undisputed.

       34.     Undisputed that Matter shared with Plaintiﬀ on April 19, that beginning the

following workweek, his telework privileges were revoked. It is also undisputed that Deere

revoked Plaintiﬀ’s telework privileges just hours after Knupp complained that he was “...getting
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his work time in at oﬀ-business hours and not claiming or taking FMLA time.” [ECF 63-4 ¶ 29.]

Plaintiﬀ had taken FMLA leave the same week that he teleworked.

       35.     Undisputed.

       42.     Undisputed.

       48.     Undisputed.

       49.     See additional material facts. It is undisputed that Plaintiﬀ wrote “[t]ardiness has

been an issue for me, but has not impacted my ability to perform.” However, Plaintiﬀ clarifies

that FMLA-related tardiness was the issue as it impacted how he was perceived by others. For

that reason, he requested, in his mid-year review summary comments, titled, “Men Lie. Women

lie. Numbers don’t”, the following from Matter: “I only ask that my evaluations are based oﬀ of

facts (instead of perception and hearsay). I ask this because I've learned that much of my

colleagues feedback and opinions are based oﬀ of their **perceptions**...” [ECF 53-7 Page 26.]

       53.     Undisputed. See additional material facts.

       54.     Undisputed.

       60.     Undisputed.

       63.     See additional material facts. Undisputed that Plaintiﬀ testified that Wolﬀ was

not on time for meetings 100 percent of the time. However, Defendant did not cite evidence to

support the factual assertion in paragraph 63.

DISPUTED MATERIAL FACTS (“DMF”)

List by number each fact from Section B of the motion for summary judgment which is

conceded to be material but is claimed to be disputed. Each claim of disputed fact must be

supported by evidentiary documentation referenced by specific page. Include as exhibits all

cited documentary evidence not already submitted by the movant.

       2.      Disputed. See additional material facts. Mr. Applewhite took leave only after the

Vice President of Supply Management, Ranjit Nair, extended Mr. Applewhite the option to take

an unpaid leave of absence with benefits, in lieu of quitting. Still, he discussed with Pamela

Brandt options of separating from the company while on leave. (Declaration of Applewhite
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"Applewhite" ¶ 2; Id. Exhibit "Ex." A.) During the early part of 2014, Mr. Applewhite planned to

quit because he was subjected to a hostile and discriminatory work environment that

manifested after he successfully fought for his right to go on intermittent FMLA leave to help

take care of his parent, and lasted until he went on a personal leave. (Id. ¶ 3; Id. Ex. B .)

       4.      Disputed. Matter supported late work start days, especially when Mr. Applewhite

worked extremely late evenings and/or early mornings. (Applewhite ¶ 7; Id. Ex. D.) Before Mr.

Applewhite began utilizing his FMLA leave, work start times for Matter and the employees that

worked for him, directly and indirectly, included working independently and together at any and

all twenty-four (24) hours of the day:

   ‣ May 12, 2015 from 8:59 PM to 9:20 PM, Mr. Applewhite worked with Matter, and Matter
      supported Mr. Applewhite's plan to begin work the next day at his discretion. (Applewhite

      ¶ 7; Id. Ex. D at Bates numbers (“Bates”) ending 447.)

   ‣ Steuer testified that, on occasion, he began work as late as 10 PM. (Exhibit (“Ex.”) B,
      Deposition of Steuer, 30:23-24, 31:1-4.)

   ‣ May 13, 2015 from 12:49 AM to 1:35 AM, Mr. Applewhite worked with Ruchi Choubey, a
      representative of the business segment located in India (Applewhite ¶ 7; Id. Ex. D at

      bates nos. ending 445-446.)

   ‣ August 11, 2015 at 3:30 AM Mr. Applewhite worked with Bipul, a representative of the
      business segment located in India, to support Bipul during a Region 1 CART meeting

      that was scheduled for 4 AM that same morning. (Applewhite ¶ 7; Id. Ex. D at bates nos.

      ending 1849, 1855.)

   ‣ January 4, 2016 from 11:46 PM to 12:48 AM, Mr. Applewhite worked with Amit Kadukar,
      a representative of the business segment located in India. (Applewhite ¶ 7; Id. Ex. D at

      bates no. ending 316.)

   ‣ January 4, 2016 from 12:50 AM to after 2:30 AM, Mr. Applewhite worked with Atul
      Jadhav, a representative of the business segment located in India. (Applewhite ¶ 7; Id.

      Ex. D at bates no. ending 312.)
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   ‣ January 8, 2016, Matter worked around 12 AM. (Applewhite ¶ 7; Id. Ex. D at bates nos.
       ending 663-664, 666.)

   ‣ March 9, 2016 at 12:32 AM to 12:43 AM, Mr. Applewhite worked with Amit Kadukar, a
       representative of the business segment located in India. (Applewhite ¶ 7; Id. Ex. D at

       bates no. ending 152.)

This occurred because Mr. Applewhite and his colleagues supported Deere segments around

the world, which is why approximately 90% of his meetings were held virtually and/or

independently.

        5.       See additional material facts. It is undisputed that close collaboration with

Silverstein was required for Plaintiﬀ to be successful leading CART. However, Plaintiﬀ clarifies

that close collaboration with all of the project’s team members was important, whom were

located throughout about three countries and 7 unique cities, spanning about three countries

and four states. For that reason the team met virtually. Plaintiﬀ objects to Paragraph 5 to the

extent that it suggest that Plaintiﬀ and Sivertsen were required to meet in person for CART

meetings when in fact they often led and participated in CART meetings from their own desks.

Similarly, one of Steuer’s primary responsibilities was leading a software-deployment project

that required close collaboration. He testified that he was allowed to telework from home while

working for Matter. (Steuer 25: 21-23.) Plaintiﬀ further objects to Paragraph 5 to the extent that

it makes legal arguments and assertions not supported by the cited evidence. (Applewhite ¶

11.)

        6.       Disputed. On February 26, 2015, Applewhite shared with Matter his need to

support his mother in Chicago. [ECF 63-4 ¶ 14; ECF No. 57-2 Page 61.]

        10.      Disputed. Matter allegedly learning of Mr. Applewhite's tardiness is hearsay.

Additionally, Mr. Applewhite scheduled meetings on Ms. Siversten’s behalf because he was the

project manager, and he did not plan to attend all meetings at the start of the meeting, or even

at all. (Applewhite ¶ 9.) Defendant oﬀers no evidence to support its claim that Mr. Applewhite’s

colleagues shared any timeliness concerns with Matter “soon after” he approved a telework
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arrangement in October 2015. The first time Matter solicited and received feedback regarding

Mr. Applewhite’s timeliness was on February 16, 2016, after Mr. Applewhite began utilizing

FMLA leave. [ECF No. 53-7 Page 14.]

       11.     Disputed. Matter did not share concerns about Mr. Applewhite’s attendance with

him in November. Matter even ignored the alleged tardiness concerns in February when he

updated Mr. Applewhite’s formal work performance assessment. (ECF No. 53-7 Pages 21-29;

Applewhite ¶ 8.) Matter began disciplining Mr. Applewhite for tardiness-related concerns after

Mr. Applewhite attempted to report FMLA leave on May 16, 2016. (Id.; ECF No. 56 Page 19.)

On May 24, Matter shared negative feedback regarding Mr. Applewhite’s attendance in his

assessment.

       14.     Disputed. See Paragraph 12 in the disputed immaterial section.

       16.     Disputed. See additional facts. Defendant’s assertion, “the certification stated

Plaintiﬀ’s mother would experience daily flare-ups of her medical condition for the next sixty

days,” contradicts Defendant’s response to Plaintiﬀ’s motion for summary judgement wherein it

clarified that the estimate addressed the next six months. [ECF 63-4 ¶ 19.] The medical

certification noted that the sporadic flare-ups were to have an “INDEFINITE” probable duration

of condition, not one expected to end in February, 2016. [ECF No. 53-3 Page 67.] Considering

the facts that Ms. Applewhite worked the third shift, and Mr. Applewhite worked all hours of the

day (see disputed fact Paragraph 4), Mr. Applewhite and Ms. Applewhite’s healthcare provider

recognized a “day,” for the purposes of Ms. Applewhite’s health condition and the medical

certification, to mean a twenty-four (24) hour period, initiated at the onset of Ms. Applewhite’s

flare ups, ending twenty-four hours later, and not miraculously ending at midnight of the same

day. (Declaration of McNamara “McNamara” ¶¶ 3, 6; Applewhite ¶ 12; Id. Ex. F.) The

certification also demonstrated that McNamara explained Ms. Applewhite required care on an

intermittent. [ECF 53-3 Pages 69-71.]

       17.     Disputed. See additional material. The FMLA supported Mr. Applewhite’s FMLA

leave needs. Deere making it possible for him to work from the home where he helped take
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care of his mother, supported Deere’s business needs. (Applewhite ¶ 13; Id. Ex. G.) It is

undisputed that upon learning that Applewhite was entitled to FMLA protected absences, and

might not complete important job tasks as a result of the entitlement, Deere created a telework

arrangement that discouraged him from taking FMLA leave. (Applewhite ¶ 13.) Under the

arrangement, as his FMLA leave usage increased, his work arrangement became less flexible.

[ECF No. 53-3 Page 72.] Thirteen (13) days after Mr. Applewhite’s telework privileges were

changed, Knupp investigated whether the impacts of the arrangement made it possible to

prematurely close Plaintiﬀ’s approved FMLA case. On January 21, she emailed Davis, “...if [Mr.

Applewhite] has an approved [FMLA] case; yet he doesn't 'use it' — is there a time span where

in which if he doesn't report any hours the case is reviewed and closed?” (Ex. D, Defendant

Produced Discovery, at Bates No. ending “Bates” 1574.)

         18.    Disputed. The FMLA supported Mr. Applewhite’s FMLA leave needs. Making it

possible to work from where he helped take care of his mother supported Deere’s business

needs. (Applewhite ¶ 13; supra Paragraph 17.)

         20.    See additional material. It is undisputed that Mr. Applewhite shared, “when I was

allowed to telework as much as needed, it helped preserve FMLA hours.” [ECF 53-3 26:11-24.]

However, Plaintiﬀ objects to Paragraph 32 as unsupported by the cited evidence and to the

extent that it makes legal arguments, and is based on opinion. The telework arrangements

allowed by Matter did not make it possible for him to spend each weekend in Chicago.

(Applewhite ¶ 28.) Defendant does not dispute that Knupp complained and found it diﬃcult to

do her job when Plaintiﬀ took intermittent FMLA leave. (ECF 63 ¶ 29; Exhibit D at Bates 1263,

1264.)

         21.    Disputed. See additional material. As the project manager, Mr. Applewhite was

responsible for planning CART’s requirements meetings so that the project team would

generate a list of requirements they wanted included in the project on time. [ECF 53-7 Page

23.] Even though he took on the administrative task of setting up a virtual meeting, he was an

optional attendee and did not have definitive plans to attend (Applewhite ¶ 9.) The only
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meeting that Mr. Applewhite was required to attend, as documented in Deere’s system where it

shared work performance expectations, was CART’s “Kickoﬀ Meeting.” (Id.; ECF No. 53-7

Page 23.) Steuer testified it was his understanding that all project-related expectations of Deere

employees were to be documented in their GPM (Ex. B at 29:18-22.) Matter had the

opportunity to list his expectation of Mr. Applewhite to attend the requirements meeting in the

“Goal/Responsibility” section in the system, but chose not to. [ECF 53-7 Page 24.] Had Matter

inquired as to the reason for Plaintiﬀ’s arrival time, he would have learned that Mr. Applewhite

was unaware that his presence was expected, and due to helping his mother earlier that

morning, was unable to go to sleep until approximately 4 AM. (Applewhite ¶ 11.) It was not until

2:09 PM, over five hours after the CART meeting concluded on February 8, that Matter shared

with Plaintiﬀ that Plaintiﬀ’s presence at the CART meeting was “very important” and that he

expected Plaintiﬀ to “be part of these meetings[.]” (Applewhite ¶ 9.)

       24.     Disputed. See additional material. Mr. Applewhite arrived at an appropriate time

to all relevant meetings. Up until February 8, 2016, Mr. Applewhite was an optional participant

of the “detailed requirements meeting.” He never received an unexcused tardy or warning for

joining the detailed requirements meetings after the start time. (Applewhite ¶¶ 10-11.)

       25.     Disputed. Plaintiﬀ disputes Paragraph 25 to the extent that Defendant suggests

that Matter previously shared his concerns regarding Plaintiﬀ’s attendance. (Id.) On February

23, Plaintiﬀ shared with Matter that his later starts and absences were due to either his FMLA

leave, technical diﬃculties, a previous running over, or working extremely late the previous

workday. He even summarized the related verbal dialogue in email. Plaintiﬀ noted,

“[u]nfortunately, my personal situation has me up very late often...fortunately, I get to spend

more time w/1on1 CMCA meetings[.]” “I'd like you to know that I woke up late to 5am and 6am

meetings in the past because I was up later the night before either: 1. Meeting with someone at

JD TCI at an hour where no one at SWOB was up working (e.g.,, 10pm, 12am, 2.am .. 4am,

etc.), or 2. Helping my family.” (Deere 1351-1353.) Matter, even after Plaintiﬀ mentioned that he

sometimes woke up late to early morning meetings because his personal situation helping
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family, did not inquire further to check whether the tardiness was FMLA protected. (Applewhite

¶ 14.)

         26.    Disputed. Matter met with Mr. Applewhite to discuss timeliness, but it was

expressed as a concern, not a warning. (Ex. D at Bates 1352, 1353.) Additionally, prior

meetings at uncommon working hours and FMLA leave were previously acknowledged as valid

justification for not attending meetings between 5 AM and 8 AM. (Ex. E at Bates 447; Ex. D at

Bates 1360, 1516.)

         27.    Disputed. See additional material. Matter notified Plaintiﬀ that he would need to

reevaluate Plaintiﬀ’s telework privileges if it appeared the telework option was the cause of his

absences or tardiness. (Ex. D at Bates 1352.) Matter never shared that it appeared that the

telework option was the cause of his absences or tardiness. Instead, Deere based its decision

to terminate Plaintiﬀ’s telework privileges on his FMLA leave utilization. [ECF 53 Page 15 ¶¶

33-34.] Plaintiﬀ objects to the fact alleged in Paragraph 27 in that it references incomplete/

selective transcripts of testimony that does not properly contextualize the question asked or

the answer given.

         29.    Disputed. See additional material facts. Matter did not allow Mr. Applewhite to

telework continuously, at his discretion after February 19. During the week of February 22,

Matter required Mr. Applewhite to work at the SWOB oﬃce Thursday and Friday. [ECF No. 53-3

Page 78.] On March 6, Plaintiﬀ shared, with Knupp, his concerns that Matter leveraged

telework options to get deeper details about his leave that Plaintiﬀ was not comfortable

sharing. [ECF No. 57-2 Page 34.] Knupp testified that she remembered the complaint from Mr.

Applewhite, and attempted to address it herself, instead of reporting it. (Ex. A, Knupp’s

Deposition, 11:5-24, 12:1-6,14-24; 13:1-2; 15: 10-24; 16: 7-13; ECF No. 57-2 Page 34; ECF

63-4 ¶ 28.)

         31.    Disputed. It is undisputed that Plaintiﬀ’s needs were unpredictable. However, the

remaining assertion made in Paragraph 31 are disputed. Defendant did not cite admissible

evidence to support them. Defendant’s mother’s psychotherapist testified that health
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certification that she completed in December explained that Ms. Applewhite needed care for

“[s]upport and facilitating medical treatments; provide [patient] with assistance in dealing with

chronic anxiety and depression...support and transport.” (McNamara Declaration

(“McNamara”) at Bates 278.)

       32.     Disputed. Plaintiﬀ shared that he aﬃrmatively would telework and take FMLA

leave on the days in question, but that it was his plan. [ECF 53-3 Page 87.]

       33.     Disputed. See additional facts. It is undisputed that 30 days after January 8,

2016, Plaintiﬀ’s telework arrangement was to revert back to two days per week. [ECF 53-3

Page 74.] However, it is disputed that he began a pattern of using telework Monday and

Tuesday, and then claiming FMLA Wednesday through Friday each week. Defendant did not

cite evidence to support the factual assertion in paragraph 33. For example, contrary to

Defendants assertions in Paragraph 33, Mr. Applewhite did not utilize FMLA leave took FMLA

leave, instead of teleworking, on Tuesday, April 12. (Id Page 75.)

       37.     See additional material facts below. It is undisputed that on April 21, after six

o'clock in the evening, Deere Disability Services emailed Mr. Applewhite FMLA paperwork that

contained an invalid FMLA eligibility notice, which stated he was only eligible for eight (8) hours

of FMLA leave. [ECF No. 53-3 Pages 89-90.] Plaintiﬀ disputes the factual assertions in

Paragraph 37 as they are premised on legal argument and Defendant’s opinion. The eligibility

notice included the note, “[i]n order to determine whether your absence qualifies as FMLA

leave, you must return all information...within 15 days of receipt of this letter or first day of

missed work, whichever is most recent.” [ECF No. 53-3 Page 90.] The correct eligibility notice

to complement Defendant’s certification was sent to Mr. Applewhite on May 17, 2016. Instead

of 8 hours, Plaintiﬀ was eligible for over 400 hours of FMLA leave. [ECF No. 57-1 Page 66.]

       38.     Disputed. See additional material facts. On April 29, 2016, Davis sent an email,

which clarified the purpose of the recertification form. (Ex. D at Bates 360.) She believed

Plaintiﬀ was only “approved for FMLA leave to care for a family member during ‘flareups,’” and

did not warrant FMLA protection for a leave of absence in which Plaintiﬀ inquired about for the
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purpose of eliminating further backlash from Davis’ supervisor1 (Id.) However, Defendant does

not dispute that Plaintiﬀ was approved for FMLA to take care for his mother for additional

reasons that would warrant the oﬀered leave. [ECF 63 Page 28 ¶ 68.] Consequently, Davis’

statement to Plaintiﬀ that “...your family member’s provider can complete” the recertification if

needed, proves that recertification was only need if Plaintiﬀ had taken leave continuously from

April 29 to June 3. (Emphasis added) (Ex. D at Bates 360.) Plaintiﬀ was not on notice that the

completion of the recertification forms were required for Plaintiﬀ’s original certification to

remain active until Plaintiﬀ met with Ciha a few days later on May 3, 2016. (Applewhite ¶ 15.)

During the meeting, Ciha also explained that Applewhite would have to recertify every thirty

days going forward. (Id.) Ciha summarized the discussion between Mr. Applewhite and Deere

via email: “[t]here is also an outstanding request for Dr certification that has been sent to

Jamaal (by Amber Davis), and he has until this Friday, May 6th to provide this in order to

continue his FMLA benefit. Jamaal expressed concern over completing that task by this Friday

[(May 6th)]...without that recertification, his current approved leave expires this Friday.” [ECF

53-3 Page 95.] On May 4, Mr. Applewhite shared that despite his diligent eﬀorts, due to

extenuating circumstances, Ms. Applewhite’s healthcare provider, McNamara, was unwilling to

complete the required recertification forms until after she had a chance to re-diagnose Ms.

Applewhite during their appointment that was scheduled for May 13. (McNamara ¶ 4; Ex. D at

Bates 1123.) On May 5, Deere did not share that it would allow an extension to the

recertification deadline, it only shared that it “…wo[uld]n’t be able to extend the date for the

paperwork past May 10th...” (Ex. D at Bates 342.) On the same day, Ciha admitted that Deere

wanted to change Applewhite’s leave from intermittent to continuous. She emailed,

“...Disability services requested the recertification, because the pattern of [FMLA] usage

indicates we may need to look at something other than intermittent.” [ECF 57-1 at Page 68.]

On May 17, Mr. Applewhite submitted the recertification to Deere (Ex. D at Bates 1061.)



1During the afternoon of April 29, Plaintiﬀ contacted Davis for help, asking “[w]hy is Kevin calling and emailing me threats on
actions that will be taken? Is it better if I tell you that I won’t be in until June 3rd?” (Ex. D at Bates 360.)
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          39.       Disputed, partially. See additional material facts. Plaintiﬀ is unable to present

facts, specifically transcripts of Matter’s deposition, which are essential to justify Mr.

Applewhite’s opposition that Matter testified, during Matter’s deposition, that he “…instituted a

flexible start time for Plaintiﬀ, in lieu of remote work...” The new work start time was not

established in place of the telework arrangement, which was eliminated about one month prior.

[ECF No. 53-3 Page 88.] An email exchange on May 6, 2016 shows that Deere would not

permit Mr. Applewhite to claim the May 16 FMLA leave of absence as a protected leave. 2 [ECF

No. 17-18 ¶¶ 45-51; Ex. D at Bates 1121; ECF No. 57-2 Pages 25-30, 44-51.] Matter created

the discriminatory work start time on May 17, in retaliation to Mr. Applewhite’s attempt to use

intermittent FMLA leave on May 16. [ECF 57-2 Page 19.] On May 17, Matter summarized the

discussion that he and Mr. Applewhite had regarding the leave, and he emailed it to Mr.

Applewhite, carbon copying Knupp and Ciha. (Id.) In part, the summary stated,

          In our meeting I conveyed the seriousness of the situation from Monday, 16 May.
          That fact that you came in late to work, especially as you did not arrive until near
          1:20pm, and without suﬃcient prior notification is not acceptable and is
          considered an unexcused absence / tardy…You did not provide me with
          notification until 9:05am. I want you to know I have reported this to HR to
          understand how I need to address this situation. I want you to understand that
          unexcused tardiness or absence will be addressed with appropriate disciplinary
          measures…Going forward, I expect you to start your day in the oﬃce between
          6am - 8am…going forward I expect at least 48 hours' notice for any request for
          vacation, and for you to also realize the work still needs to get done…It seems
          something often times comes up which appears to aﬀect your ability to get to
          the oﬃce on time or at all, and to get your work done...you seem to often have
          diﬃculty getting to work because you are traveling in from Chicago…If you
          continue to be tardy, have unexcused absences, do not follow the work
          agreements we have set in terms of your working hours in the oﬃce, or our
          agreements for requesting vacation, etc, there will be progressive disciplinary
          consequences, up to and including termination.

(Id.)

          40.       Disputed. Defendant does not submit evidence for the factual assertion in

paragraph 40, and it is not supported by the record. See L.R. 7.1(D)(1)(b). Mr. Applewhite


2 Friday, May 6, Deere, after confirming with the Dan Allen, the Human Resources Global Director, Ciha emailed Applewhite, “[y]ou
will need to report to work on Monday and beyond, until/unless your FML case is re- opened/re-approved...If you do not report to
work, this time will be considered an unexcused absence, and as multiple occurrences take place, appropriate discipline will be
issued.”
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shared that he would be absent for “personal reasons” when notifying Matter of his need for

FMLA leave. (Ex. D at Bates 1648.) When Mr. Applewhite used verbiage like “family matter” and

“personal reasons” in his notifications to take FMLA leave, his supervisor understood and

accepted that he was referring to assisting his mother. (Ex. D at Bates 1648.) Nevertheless,

even after Plaintiﬀ shared that an “urgent personal/family matter came up last min” on May 16,

Matter refused to allow Mr. Applewhite to utilize FMLA leave (Applewhite ¶ 7.) As a result of

Plaintiﬀ’s attempt to take FMLA on May 16, Deere created new rules - required that Plaintiﬀ

make vacation requests 48 hours in advance and started work no later than 8AM. Plaintiﬀ

further objects to Paragraph 40 as legal argument and opinion.

       41.     Disputed. See additional material. It is undisputed Plaintiﬀ warned Applewhite

for arriving to the SWOB in the afternoon. However, the remaining assertion in Paragraph 41 is

not supported by the cited evidence. Defendant suggests that it previously shared with Plaintiﬀ

that he had to begin work at a specific time, but oﬀers no supporting evidence. May 17, 2016

was the first time Matter shared with Plaintiﬀ that he would have a set start time window to

begin work. (Applewhite ¶ 7.) Plaintiﬀ further objects to Paragraph 41 as legal argument and

opinion.

       42.     Disputed. Plaintiﬀ does not have access to the transcript of his deposition,

which is needed to support his opposition of the fact asserted.

       43.     Disputed. See additional material facts. Plaintiﬀ is unable to present facts

essential to his opposition that he “…again arrived thirty minutes late to the SWOB, at 8:30

a.m., and without providing any prior communication or explanation to Matter.” Plaintiﬀ did not

state he had elected to telework, and evidence cited by Defendant does not support its claim.

Plaintiﬀ wrote that he, “…started working as early as 7:06am (see attached snapshot of sent

emails), and finished at ~430p.” (Applewhite ¶ 16; Matter Decl. Exhibit E.)
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          44.       Disputed. See additional material. Deere set the recertification deadline to May

6.3 [ECF 53-3 Page 95.] Ms. Applewhite's healthcare provider was willing to complete the new

health certification after Ms. Applewhite met with her on May 13, but not before then.

(McNamara ¶ 4.) On May 4, Mr. Applewhite notified Deere of McNamara's unwillingness to

complete the health certification by May 6, and asked if it would be extending the due date.4

[ECF No. 57-2 Page 26.] In response to Mr. Applewhite's unsuccessful attempt to have the

certification completed on time, Deere his denied Applewhite’s extension request, and

explained to him, “[y]ou will need to report to work on Monday and beyond, until/unless your

FML case is re-opened/re-approved based on Dr certification being submitted. If you do not

report to work, this time will be considered an unexcused absence, and as multiple

occurrences take place, appropriate discipline will be issued.” [ECF No. 57-2 Page 25-26.]

After May 6, with exception to attending Ms. Applewhite's doctor's appointment on May 13,

Deere wouldn't allow Mr. Applewhite to take unpaid, non-FMLA time oﬀ to help take care of his

mother. Ciha even admitted that she confirmed it with her superior, Dan Allen: "we are not in a

position to oﬀer you further unpaid, non-FMLA time oﬀ. " (Ex. D at Bates 1121.) Plaintiﬀ did not

request intermittent FMLA leave for two times per week, and Defendant oﬀers no evidence to

support such a claim. He requested intermittent leave for as much time required to help take

care of his mother, until approximately January 1, 2017, using Deere’s Employee Request for

Family & Medical Leave (FMLA) form. [ECF No. 57-1 Pages 58.] In fact, on May 13, McNamara

issued a suﬃcient recertification, which explained the frequency of Ms. Applewhite’s flare-ups

was “TBD,” with an estimated 3-day duration of related incapacity per episode. (Id. Page 62.)

McNamara's estimates for the frequency and duration of Ms. Applewhite's flare-ups were

approximate, not absolute predictions. (McNamara ¶ 5.) Knupp testified that she understood


3In her summary of the FMLA discussion held with Mr. Applewhite on May 3, she wrote, "there is also an outstanding request for
Dr certification that has been sent to Jamaal (by Amber Davis), and he has until this Friday, May 6th to provide this in order to
continue his FMLA benefit. Jamaal expressed concern over completing that task by this Friday...without that recertification, his
current approved leave expires this Friday.”

4 May 4, Mr. Applewhite in an email, titled "FMLA Recertification - Not Possible Until May 13th," emailed Curran, Matter, and Ciha,
"[m]y mom was unable to get a doctor's appointment to have the paperwork filled out until May 13th. The doctor's not willing to
give a new diagnoses until then. Will you be extending your due date until after the doctor's appointment."
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the duration and frequency of Ms. Applewhite's flare-ups to be estimates.5 (Ex. A at 75: 15-24;

76: 1-10.) On May 17, Mr. Applewhite managed to have Deere, after almost one month,

acknowledge that he actually had 401.5 of FMLA leave hours remaining, which he did not

100% deplete by June 2. (ECF No. 57-1 Pages 66-67.) On the same day, not on May 20, he

submitted the recertification documents. (Id. Pages 57-63.) Deere shared that it needed more

information on what “TBD” for frequency meant. (Id. Page 64.) May 20, Deere shared with

Applewhite that his recertification was approved. June 7 was the first day that Deere shared

with Mr. Applewhite that it approved his FMLA leave request using the updated certification

form that McNamara faxed directly to it. [ECF No. 57-2 Pages 4, 6-7.] It was only until then that

Deere explained to Applewhite that McNamara updated the estimated frequency of flare-ups

from “TBD” to two (2) times per week, and faxed the updated form directly to it. [ECF No. 57-2

Page 7.]

          45.       Disputed. See additional material. Plaintiﬀ did not make an FMLA leave request

for a specific or an absolute number of occurrences per week. [ECF No. 57-1 Pages 58.] Deere

approved the medical certification that they received from McNamara, and did not ask for a

second opinion. Plaintiﬀ is unable to present essentials facts, specifically transcripts of his

deposition, which are essential to justify his opposition that he testified, during his deposition,

that read the recertification paperwork on May 16. Plaintiﬀ objects to the extent that Defendant

seems to suggest that the Plaintiﬀ testified that the first time Plaintiﬀ read the recertification

paperwork was on May 16, 2016. Defendant mischaracterized the evidence cited, which does

not support any assertion of when Plaintiﬀ initially read the rectification paperwork. Applewhite

¶ 17.) Plaintiﬀ additionally objects to Defendant's cited footnote as legal argument.

          46.       Disputed. See additional material facts. It is undisputed that Plaintiﬀ met in-

person with Matter for his mid-year review. However, he arrived on time. (Applewhite ¶ 18.)




5 Knupp testified, "[s]o the days oﬀ that were outlined for you were based oﬀ of what they estimated it would probably take for you
to care for your mother."
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       47.       Disputed. See additional material facts below. It is undisputed that Matter noted

times that Plaintiﬀ had been tardy and absent. However, Plaintiﬀ disputes that the absenteeism

was unexcused. Defendant cites no evidence for the assertions in Paragraph 47. Plaintiﬀ

further objects to Defendant’s alleged fact, as it is hearsay. Matter, in the mid-year review,

noted Plaintiﬀ’s instances of FMLA-excused tardiness and absences identified by Sivertsen.

[ECF 53-7 ¶¶ 15, 22.] In an email solicited from Matter, Sivertsen shared a note detailing these

FMLA-excused timeliness concerns:

   ‣ 02/10 - Meeting scheduled @ 7AM with CART group for requirements. Jamaal cancelled
      meeting @ 3:06 AM.

   ‣ I scheduled meeting to discuss CART project plan with Jamaal and Mark @ 8AM and
      Jamaal sent out email to me @ 3:06am stating "he would try to make meeting but was oﬀ

      on FMLA".

   ‣ Also on this same day Jamaal had set up meeting to discuss some CART issues with me
      @ 12:30 pm. He didn't cancel nor show up for this meeting as well. At 1:30pm he IM'd

      me sorry that he missed meeting and was going to reschedule.

[ECF No. 53-7 Pages 15-16.] Mr. Applewhite took FMLA leave on February 10. (Ex. D at Bates

1444 to 1445.)

       50.       Disputed. See additional material. Matter admitted that at approximately 6:20

AM on May 31, Mr. Applewhite notified him that he would be absent, beginning later that

morning to address an FMLA-related situation. He also admitted that Mr. Applewhite “...rather

than use FMLA he used vacation.” [ECF No. 57-2 Page 14; Ex. D at Bates 955, 956.] Within ten

minutes, Matter relayed Mr. Applewhite’s FMLA leave plans to Deere’s Human Resources

Department, Knupp and Ciha. (Id.) The next day, June 1, early morning, Mr. Applewhite shared

his need to remain on leave. (Ex. D Bates at 958.) Later that evening, Ciha shared with Jeﬀrey

Chisholm that Mr. Applewhite shared with Matter that he planned to return from leave the next

day, late afternoon. (Ex. D Bates at 952.) The next day, on June 2 at approximately 1:30 PM,

Mr. Applewhite, as planned in advance with Deere, returned from leave and reported to Deere
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Disability Services and Matter that he utilized FMLA leave that started May 31, and ended June

2. [ECF No. 57-2 Page 12.] A total of 22.5 FMLA leave hours were deducted. [ECF No. 57-2

Pages 2-3.]

       51.     Disputed. See additional material. Mr. Applewhite reported to both Deere

Disability Services and Matter that on Wednesday, June 2, he had taken FMLA leave. Matter

then forwarded Mr. Applewhite’s notification to Ciha and Knupp. (ECF 57-2 Pages 11, 14; Ex. D

at Bates 266, 909, 950.) Still, Deere treated his warning against his return from intermittent

FMLA leave as “...important documentation if things [did] not improve and [it] continue[d] down

the progressive process and issue[d] any discipline, EPI and/or termination” (emphasis added).

(Ex. D at Bates 967.) Deere considered Mr. Applewhite’s June 2 tardy unexcused because he

had used two days of FMLA leave that same week [ECF No. 53-7 ¶ 24; Id. Pages 18-19.] On

June 1, Matter noted a talking point, which he reviewed with Knupp and shared with Ciha, for

his June 2 warning meeting with Mr. Applewhite, titled "Discussion" that read “[d]o not oﬀer

any answers to [Mr. Applewhite’s] questions...” (Ex. D at Bates 953.)

       52.     Disputed. See additional material. On June 6, 2016, Knupp mentioned nothing

about Plaintiﬀ’s dependability at the meeting. Knupp did, however, echo Matter’s earlier, new,

unique, and discriminatory restrictions that he shared during the June 2 meeting that he held

with Mr. Applewhite: “[i]f you are absent or tardy, you will be required to provide a doctor's

excuse...when scheduling vacation, obtain prior approval from your manager…at least 48

hours in advance…” [ECF No. 53-8 Page 6; ECF No. 56 ¶ 77; ECF No. 57-2 Page 1-2.] Mr.

Applewhite refused to sign the warning, but hand wrote "May 16" in the top right corner of the

first page of the warning to take note that one of the tardy dates identified by Knupp as part of

the reason for the warning. (ECF No. 53-8 Pages 6-7; Applewhite ¶ 21.) In the meeting, Deere

never shared an exact or even approximate number of days that it used to define "excessive"

absenteeism or tardiness. (Id., ECF No. 57-1 Page 95.) Even later, during her deposition for this

action, in 2019, Knupp refused to provide an objective definition of "excessive." She testified

that she defined "excessive" tardiness as "[c]onsistent repeated patterns after multiple
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coaching sessions and the employee understanding very clearly that this is when we expect

you to be in the oﬃce by, and they repeatedly failed to comply." (Knupp 63: 24, 64: 1-5;

Applewhite ¶ 21.) Deere, in response to Mr. Applewhite's interrogatory, after terminating his

employment, defined "excessive" tardiness and absenteeism as "a number of unexcused

hours/days absent and/or tardy that demonstrates a lack of dependability and creates issues

with Deere team members and stakeholders." (Ex. C at Answer to Interrogatory (“Int.”) No. 11.)

Deere shared that no employees that reported to Matter during the relevant time period

exhibited excessive tardiness/absenteeism warranting discipline, but could not share any

specifics on the frequency. (Ex. C at Int. No. 13.) Knupp refused to share the number of hours

or days that Mr. Applewhite had been absent or tardy. (Applewhite ¶ 21.)

          55.       Disputed. See additional material. It is undisputed that the warning noted, “[w]e

ask that you sign this letter to acknowledge your understanding of the expectations.” However,

the warning was not clear. Consequently, Mr. Applewhite objected to signing it, and Knupp

wrote “employee refuse to sign” in place of his signature. (ECF No. 53-8 Pages 6-7; Applewhite

¶ 21.) During the June 6 formal warning, Knupp, again, intentionally refused Mr. Applewhite

opportunities to address concerns regarding absenteeism and tardiness by ignoring his

questions about why she was not honoring is claim that his FMLA leave-related travel on May

16 and June 2 was supposed to be protected under the FMLA.6 (ECF No. 56 ¶¶ 45, 81-85;

ECF No. 57-1 Page 95; ECF No. 57-2 Pages 4, 5, 8-10, 27-30, 95; Applewhite ¶ 21.) After

failing to get any of the HR staﬀ that were apart of the meeting to address his in-person

contentions, Mr. Applewhite complemented his in-person protest with a follow-up email to

Knupp and Matter that stated, “I was tardy, however, it was due to travel time from my

approved FMLA. This is a violation of my right.” Knupp refused to answer his question and did

not address his complaints that his FMLA rights were being violated. [ECF No. 57-1 Page 95;

Applewhite ¶ 21]. In the same email chain, Knupp refused to directly and suﬃciently answer


6 May 3, Applewhite met with several Deere staﬀ where Ciha shared that he was expected to understand that “...time as
intermittent should be the amount required to tend to the FMlA situation. For example -if the need is a Dr appt, based on the time
of the appt, Jamaal should take the needed time for the appt (and travel since the need is in Chicago) but before and/ or after that
time, he should expect to be in the oﬃce or request vac."
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Mr. Applewhite's questions about excessive absenteeism and tardiness. To these questions,

she simply responded "the company has outlined it's attendance and performance

expectations in this previous communications with you." (Id.) Later that evening, in a desperate

eﬀort to get someone from Deere to answer questions about the FMLA rights to which he

believed he was entitled, Mr. Applewhite scheduled a meeting between the manager of

Disability Services, Kevin Curran, and Jeﬀrey Chisholm. [ECF No. 57-2 Page 10.] However,

continuing to make it diﬃcult for Mr. Applewhite to cure his alleged deficiencies, they both

declined the invitation to discuss Applewhite’s concerns, and refused to attend the meeting.

(Id. Pages 8-9; Ex. C at Int. No. 4).

       56.     Disputed. On June 15 at 11:11 AM, Plaintiﬀ asked Ciha, Matter and Knupp

"[w]hat time do you have me clocked in today?" He added that "[he] would like to accurately

report [his recorded arrival time] to Disability Services." [ECF No. 57-1 Page 91.] Instead of

responding with the time that Mr. Applewhite clocked in, Knupp responded over six (6) hours

later, and asked him to meet her in a conference room. (Id.)

       57.     Disputed. See additional material facts. It is undisputed that the department to

which Applewhite belonged had the option to him into Deere’s Employee Performance

Improvement (EPI) process. During her deposition, Knupp explained why Deere chose to

circumvent its disciplinary policy. She testified that they decided to terminate Plaintiﬀ’s

employment without putting him into the EPI because “[t]he performance was being managed

through conversations that you were having with your manager on an on going basis, verbal,

and written.” Per Deere’s ‘Disciplinary Procedure-Salaried Employees it should have used the

EPI before terminating his employment. (Ex. D at Bates 1924, 1925; Applewhite ¶ 22; Knupp at

71:2-24, 72:1-4.) The written warning stated, “[w]e understand, respect and support your rights

to take FMLA time for which you have been approved. The concerns referenced here are

outside of that approved certified time oﬀ.” Deere’s actions were not consistent with this

warning because they did not understand, respect or support Mr. Applewhite’s FMLA leave

rights - it fired him for attempting to utilize approximately fifteen minutes of his FMLA leave on
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June 15. Ciha claimed that Deere “...told [Mr. Applewhite] what was not working” in regards to

FMLA absences, but this was not true - Deere intentionally refused to answer Plaintiﬀ’s

questions meant to clarify his leave rights under the FMLA, supra ¶ 55)

         58.    Disputed. Plaintiﬀ testified that Deere claimed that his employment was

terminated for arriving to work after 8 AM and arriving late or not at all on other days, but it is

important to note the distinction that Plaintiﬀ argues that he was terminated in violation of the

FMLA. The evidence cited by Defendant does not support the assertion made in Paragraph 58.

[ECF No 53-3 Pages 54-56.]

         59.    Disputed. The assertion made in Paragraph 59 contradicts the testimonies of

two other witnesses. Knupp testified that she, along with Heidi Ciha and Dan Allen, were the

ultimate decision-makers for Plaintiﬀ’s termination. (Applewhite ¶ 22; Knupp 10:15-22.) Matter

testified that he, Knupp, and Ciha were decision-makers for Plaintiﬀ’s termination (Applewhite

¶ 26.)

         61.    Disputed. Plaintiﬀ received knowledge of of McKasson’s attendance from

Sivertsen and Matter. (Applewhite ¶ 23.) Plaintiﬀ further objects as Defendant mischaracterizes

the cited transcripts.

         62.    Disputed. Mr. Applewhite, without being asked, reported to Matter that Steuer

and others that reported to Matter were regularly late to team meetings. (Applewhite ¶ 27.)

Matter regularly, in error, considered Mr. Applewhite late to meetings when Matter did not see

Mr. Applewhite active on instant messenger during the time Mr. Applewhite had a meeting

scheduled on Mr. Applewhite’s calendar. (Id.) Matter solicited feedback about Mr. Applewhite’s

timeliness - he admitted that he “asked Christine Sivertsen...if [Plaintiﬀ] had timely attended

scheduled meetings.” [ECF No. 53-7 P 14.] Steuer testified that he had began work as late as

11 PM, arrived tardy and even completely missed a few work meetings during relevant periods,

while working under Matter. (ECF No. 53-6 Page 8:13-17; Ex. B at 14: 20-22, 16: 1-24, 17: 1,

38:13-17.) Matter received unsolicited feedback about timeliness about his other team
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members, and was personally aware that his team, including himself, often began meetings

after the scheduled start times:

   ‣ March 14, 2016, Matter and Bipul entered, the first meeting of the day, approximately ten
      (10) minutes late. (Ex. E at Bates 174.)

   ‣ August 28, 2016, Steuer arrived in a meeting about twenty-two (22) minutes late. (Ex. E
      at Bates 358.)

       64.     Disputed. In responding to the question how many meetings with Mark he

completely missed, Steuer testified that he “…c[ould] think of one oﬀ the top of [his] head

where [he] completely missed, but there could have been another.” (Emphasis added.) [ECF

No. 53-6 Page 8.] Steuer had been late to meetings, for example, one with Mr. Applewhite. (Ex.

E at Bates 358.)

       65.     Disputed. Undisputed that Steuer utilized FMLA leave for six or eight weeks as

result of emergency back surgery, was not disciplined by Matter during that period, was not

disciplined by anyone with the Human Resources group that he reported to at that point, and

was not disciplined immediately after returning from leave. However, Plaintiﬀ objects to the

remainder of Paragraph 65 because Defendant cites no evidence for the remaining assertions,

and is not supported by the recorded. See Local Rules 7.1(D)(1)(b); Plaintiﬀ objects to the point

that Defendant appears to liken Steuer’s FMLA utilization to that of Plaintiﬀ’s, however, Steuer’s

FMLA leave was continuous whereas Plaintiﬀ’s leave was intermittent. (Steuer 31:10-20; ECF

63-4 Pages 6-8 at ¶¶ 18, 22.)

       66.     Disputed. It is undisputed that Ciha declared she authorized terminations of

employment of salaried employees for attendance issues similar to Plaintiﬀ’s issues. However,

Plaintiﬀ objects to Paragraph 66 because Defendant cites no evidence for the remaining

assertions, which contradict the statement of fact in paragraph 51 wherein Defendant states

that Plaintiﬀ incurred an unexcused tardy because he had already used two weekly

occurrences of FMLA leave. (ECF 53 ¶ 51; ECF 53-7 ¶ 24.) Defendant further objects to

Paragraph 66 as legal argument. Plaintiﬀ is unable to access parts of Ciha’s transcripts of the
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deposition referenced, which are essential to his opposition that she “…terminated Deere

salaried employees for attendance issues similar to Plaintiﬀ…”

DISPUTED IMMATERIAL FACTS:

List by number each fact from Section B of the motion for summary judgment which is claimed

to be both immaterial and disputed. State the reason the fact is immaterial. Support the claim

that the fact is disputed with evidentiary documentation referenced by specific page. Include

as exhibits all cited documentary evidence not already submitted by the movant

       8.      See additional material facts. Disputed because the assertion is not supported

by the cited evidence, which was mischaracterized, and immaterial because Plaintiﬀ’s privilege

to telework before he requested FMLA leave is irrelevant. Plaintiﬀ is unable to present evidence

to support his opposition that the telework requests cited in Paragraph 8 occurred during the

relevant time period.



       12.     Disputed immaterial. See additional material facts. Mr. Applewhite received no

discipline or any inclination that Mr. Matter took issue with the alleged infractions.

   ‣ November 6, Mr. Applewhite did not share with Matter that he completely missed a
      meeting, and does not admit that he sent Matter a text claiming so. Mr. Applewhite is

      unable to present evidence to support his opposition that he texted Matter that “he

      completely missed a meeting because he overslept.” Nevertheless, it is noteworthy that

      the alleged snapshot of a text messaged sent from Mr. Applewhite to Matter does not

      state anything about missing a meeting. [ECF No. 53-6 No. 53-7 Page 9.]

   ‣ November 20, disputed because Plaintiﬀ mischaracterizes the text message cited in
      Paragraph 12.

   ‣ November 23, meeting regarding Sampling Approach was a project that did not involve
      Mr. Applewhite, and did not appear in the Global Performance Management system as

      part of his job responsibilities. [ECF No. 53-7 Pages 21-29.]
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   ‣ December 11, after Applewhite did not attend a meeting, Matter reached out to him, only
      sharing “[w]e missed you in the meeting today, I hope all is well.” Applewhite shared with

      Matter, “[m]y meeting with Rosie went almost one hour over until about 5pm.

      Consequently I worked about 11 hours. The last two work days have been long so I was

      exhausted and overslept.” (Exhibit D at Bates 1914.)

   ‣ December 17, Mr. Applewhite took a vacation as requested even though it should have
      been considered a sick day as he reported that he was experiencing an unmanageable

      about of stress. (Ex. D at Bates 1913, 1988.)



       23.    Disputed immaterial. January 27, Mr. Applewhite reported technical diﬃculties.

February 1, Mr. Applewhite reported being sick. (Matter Decl. Ex. G) Immaterial because

plaintiﬀ was not a required attendee to the CART requirements meetings until sometime after

February. (Applewhite ¶ 9.)

       36.    Disputed immaterial. Whether Plaintiﬀ teleworked without permission is

immaterial as his telework usage was never cited as a factor in the decision to terminate his

employment. It is disputed that he teleworked on April 22, let alone teleworked without

permission. His telework privileges were not terminated until April 25. [ECF 53-3 Page 88.]

Matter admits that Mr. Applewhite planned to take FMLA leave on April 22. (Ex. D at Bates

1210) Furthermore, within all of the communication that occurred between Mr. Applewhite and

Deere on or after April 22nd, there was no indication that Mr. Applewhite’s alleged teleworking

on April was not permitted or even occurred. (Ex. D at Bates 1099, 1130, 1136, 1170.)

UNDISPUTED IMMATERIAL FACTS

       13.    Undisputed immaterial. Immaterial as this day was taken as a vacation, but

should have been considered a sick day as Plaintiﬀ was experiencing an unmanageable

amount of stress. (Ex. D at Bates 1913, 1988.)

ADDITIONAL MATERIAL FACTS (“AMF”)
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        2.         Plaintiﬀ was qualified for and took intermittent FMLA leave prior to beginning his

personal leave in March 2014. (Applewhite ¶ 3.)

        2a.        Within months of returning from his personal leave, during the second quarter of

2015, Mr. Applewhite shared with Matter his concerns of being retaliated and discriminated

against. Approximately seven months later, on January 21, 2016, Matter reported Mr.

Applewhite's concerns, sharing that his delay in reporting the complaint was an error on his

part. (Id. ¶ 4.)

        2b.        February 16, 2016, a compliance case investigation, led by Milton Shaw, Deere's

Human Resources Operations Manager, ensued, and then closed. (Id. ¶ 5; Id. Ex. C.)

        2c.        Ciha testified that Carol Mottet shared with her that Mr. Applewhite was involved

in a compliance case. (Id.¶ 6.)

        3.         On December 7, 2015, Matter rated Mr. Applewhite’s work performance as

“successful performance.” [ECF No. 57–1 Page 51.]

        3a.        October 28, 2015, Matter rated Mr. Applewhite’s fiscal year 2016 work

performance as being on target for 100% of his five job specific competencies: creating trust,

executing consistently, driving for sustainable results, analyzing rigorously, and making sound

decisions. (Id. Pages 1-2.) The fiscal year 2016 encompassed the period of October 2015 to

October 2016.

        3b.        As part of his appraisal comments, Matter acknowledged that the CART project,

due to Mr. Applewhite’s eﬀorts, was on schedule, and that Mr. Applewhite “worked to keep the

team focused and not add too much additional content.” (Id. Page 13.)

        3c.        Mr. Applewhite completed over five times more should cost analyses than his

predecessors. [ECF No. 57-2 Pages 35-38.]

        3d.        Knupp testified that Mr. Applewhite's termination was due to, in part, feedback

from other Deere employees, and how he treated Matter, herself and other HR staﬀ. (Knupp 41:

1-7; 42: 20-24; 43: 1-3.)
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          3e.       As of May 24, 2016, midway through the year, Matter admitted that Mr.

Applewhite completed eleven (11) should cost analyses. (ECF No. 53-7 Page 22.)

          3f.       Mr. Applewhite's immediate predecessor completed zero (0) should cost

analyses. [ECF No. 57-2 Page 36.]

          3g.       The initial competency ratings that were included in the FY16 mid-year review

were created between October and December of 2015. (Applewhite ¶ 29, ECF 57-1 Page 10.)

          3h.       Steuer testified that he preferred to complete project type work over should

costs. (Ex. B at 29:3-7.)

          5.        On July 17, 2015, Mr. Applewhite summarized his last four (4) weeks of work to

illustrate the fact that approximately 90% of his work on CART and his other responsibilities

was successfully completed independently and/or virtually. [ECF No. 57-2 Pages 57-607 ; ECF

No. 56 Page 10 ¶ 9.]

          6.        Plaintiﬀ asked Matter for permission to work remotely from Chicago, where he

could help support his mother.

          7.        Matter did not make a final decision of Plaintiﬀ’s work arrangement request by

June as the promised timeframe. (Deere 1867-1869.) Consequently, on July 17, Mr. Applewhite

submitted a telework proposal to Matter, which included data that supported the fact that Mr.

Applewhite’s work was completed approximately 90% independently and/or virtually. [ECF No.

57-2 Pages 57-60.]

          8.        May 2015, Matter formally praised Mr. Applewhite's work performance by

documenting it in Deere's global performance management system ("GPM"). (Applewhite ¶ 29;

Id. Ex. G.) The feedback was wholly positive and optimistic, and included the following

compliments:

     ‣ Jamaal, I was glad to have you Join the team this year;




7 July 17, 2015 at 6:04 PM, Mr. Applewhite sent Matter an email that, in part, stated "[t]he snapshots below are actual summaries
of my last four weeks. You will notice that only 10 hours out of the last 18 days could be completed with face to face interactions."
(Emphasis in original.)
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    ‣ I am excited to see you leverage your engineering, cost management, and metrics
        &. reporting knowledge to help CMCA continue to increase the value we bring to
        the organization. I appreciate your passion to find cost reduction...;

    ‣ l do believe you make an eﬀort to create trust; act in a manner consistent with
        Deere values (being honest and open)...;

    ‣ All other sub-teams were behind schedule when you joined, and you quickly rnet
        with each sub-team lead to insure they began making progress to insure we hit
        our target...; and

    ‣ You have been actively engaged With the leads to assist them in getting back on
        schedule...

(Id.)

         10.    The expectation of Applewhite to attend every single CART meeting was not

stated, nor documented in Mr. Applewhite’s annual goals. According, to the Project

Management Book of Knowledge, a project manager’s job is to make sure objectives are met

on time, within scope, and at cost.

         12.    Tardiness to meetings, and starting and ending meetings late were common

practice within Matter's team and Deere as a whole. (Ex. D at Bates 1890.) In early December

2015, while completing Mr. Applewhite's formal work performance appraisal, Matter mentioned

nothing about tardiness or absenteeism, and oﬀered nothing but praise and gratitude for Mr.

Applewhite's outstanding performance. (Applewhite ¶ 11; Id. Ex. G.) Below are some of the

comments that he shared:

    ‣ Jamaal, I was glad to have you join my team in March, and have enjoyed working
        with you.

    ‣ l do believe you make an eﬀort to create trust; act in a manner consistent with
        Deere values [being honest and open]...;

    ‣ When you joined the team, this project was generally behind schedule, so your
        challenge was to manage the overall project while working with tile sub-team leads
        to get them on track with hitting. the project due dates. You were able to get the
        sub-teams and overall project back on track and could have deployed on time if
        IT would not have had the blackout time, Very good eﬀort;

    ‣ I do believe our teams relationships have improved because of the 2 events you
        and Ruchi identified, planned and conducted;
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    ‣ The Master CAT Scorecard report was a big success, thank you for supporting
        Dave Johnson and Joe Erdman In ·getting this report completed and published In
        the...I realize it took some push from both you and me;

    ‣ Your goal was 150 component part should costs and you completed 170, thank
        you for not only meeting but exceeding your goal; and

    ‣ You stepping into the CART project mid-year, with many tasks being behind
        schedule, and working with the team to get on schedule is a good example.

(Id.)

         16.     Mr. Applewhite requested leave to start approximately January 11, 2016, not

December 23, 2015. [ECF No. 53-3 Page 67.]

         16a.    Davis explained to Knupp that Plaintiﬀ’s FMLA case would remain active from

December 2015 through January 2017. (Ex. D at Bates 1574.)

         16b.    She also explained to Knupp that Mr. Applewhite, in order to protect his FMLA-

related absences, had until 3 business days after returning from leave to report his time. (Id.)

         16c.    Davis also shared with Mr. Applewhite that his reporting responsibility “to report

[his] FMLA time to Disability Services by e-mail...within three business days of returning from

leave.” [ECF No. 57-2 Page 40.]

         16d.    The certification approved by Deere explained, “patient needs psychological

care.” [ECF 53-3 Page 70.]

         16e.    The certification approved by Deere explained Mr. Applewhite would “supervise

[his mother] during her episodes, make sure she is taking her medicine, and physically be in

her presence to address panic attacks and self-inflicting injuries.” [ECF 53-3 Page 68.]

         16f.    The certification was suﬃcient to authorize Applewhite intermittent leave to take

care of his mother. Consequently, it was approved on December 23, 2016.

         17.     Mr. Applewhite completed an analysis to highlight Matter's disparate treatment

between himself and his predecessors. [ECF No. 57-2 Pages 35-38.]
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         17a.    The analysis showed that Mr. Applewhite's predecessors were expected to

complete less than 50 should cost analyses, compared to the approximately 200 should cost

analyses that Mr. Applewhite was expected to complete. (Id. Page 37.)

         18.     The more FMLA utilized, the less flexible the work arrangement. (Pl. Dep. Ex.

16.)

         19.     After an exhausting negotiations, Plaintiﬀ shared, “[b]y the grace of God, you

helped me reach a balance where Deere's business needs and my personal needs could be

met at a level that would be considered, in GPM lingo, ‘successful’ at the least.” (Pl. Dep. Ex.

16.)

         20.     Later the same day that Knupp complained, she emailed the HR manager, her

supervisor, Ciha, sharing that she and Rathburn “feel Jamaal no longer deserves a flex work

schedule.” [ECF No. 57-2 Pages 32-33.]

         20b.    That same day Knupp updated Ciha on what she learned about the FMLA rights

to which Applewhite was entitled. She emailed, “...[Curran] told me that Jamaal does not have

to give us any proof or reasoning when he asks to take FMLA-we as a company go oﬀ of their

'word' since it's an unpaid benefit/approved FMLA case. Seems so frustrating!” (Id; ECF No. 55

¶ 30.)

         20c.    Seven (7) days later, Matter terminated Applewhite’s telework arrangement

privileges. (Id. Page 22.) Knupp later lied, testifying that the way Mr. Applewhite used his leave

had no impact on her frustration. (Ex. A at 18:17-24, 19:1-24, 20:3-24, 21:1-11.)

         21.     During the 2016, several weeks after Mr. Applewhite shared his concerns of

retaliation and discrimination with Matter, Matter shared with Mr. Applewhite that he finally felt

compelled to formally submit a compliance complaint regarding the matter. (Applewhite ¶ 4.)

         22.     In addition to soliciting negative feedback from my colleagues, Deere retaliated

by creating unwarranted compliance complaints, which, after being closed unfounded, resulted

in adverse consequences to Mr. Applewhite. During the first quarter of 2016, Mr. Applewhite

was investigated by a Deere investigator and Carol Mottet in support of a compliance
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compliant. As a result of the investigation, the case was closed unfounded, but Mr. Applewhite

was removed from his leadership recruiting role. (Applewhite ¶ 6.)

       24.     On February 16, 2016, a compliance case investigation, led by Milton Shaw,

Deere's Human Resources Operations Manager, ensued. (Applewhite ¶ 5.)

       24a.    February 19, Mr. Applewhite reported his retaliation and discrimination concerns

during a meeting with Milton Shaw. (Applewhite ¶ 5; Ex. E at Bates 1796, 1797.)

       27.     April 18 at 6:44 PM, Clara shared frustration with Plaintiﬀ not being in the oﬃce

because of a combination of telework privilege and FMLA leave, and asked for “guidance on

some recent activity with [Plaintiﬀ]’s FMLA.” (Ex. D at Bates 1263,1264; ECF 56 Page 13 ¶ 29.)

       27a.    April 18 at 6:54 PM, Knupp shared with Ciha that she and Doug felt that Plaintiﬀ

no longer deserved a flex work schedule. [ECF 57-2 Pages 32-33; ECF 56 Page 13 ¶¶ 30-31.]

       27b.    April 19, Deere informed Plaintiﬀ that beginning the following workweek, his

telework privileges were revoked. [ECF 53 Page 15 ¶ 34.]

       29.     March 1, 2016, Matter provided Mr. Applewhite with his last performance

evaluation. He rated Mr. Applewhite’s Business and People Performance as “successful

performance.” Although Deere shared with Mr. Applewhite that his "…base pay increase [was]

determined by: Business and People Performance ratings…" it oﬀered him no merit increase.

[ECF No. 56 ¶¶ 25-26; ECF No. 57-1 Page 53; ECF No. 57-2 Pages 16, 34, 75.]

       29a.    Deere’s Code of Business conduct requires employees who learn about a

potential violation or illegal act to “ immediately, and without investigating, report it to...The

John Deere Compliance Hotline...The John Deere Compliance Hotline is operated by an

independent company.” [ECF Ex. D at Bates 1933.]

       33.     Knupp’s concern was that Mr. Applewhite teleworked on days that he needed to

be outside of Moline, in Chicago. Knupp’s other concern was that Mr. Applewhite did not work

onsite in Moline on April 13, 14, 15, 20, and 21, when he was on FMLA leave. She used his

FMLA leave usage as a negative factor. (Ex. D at Bates 1263.) Furthermore, Mr. Applewhite

wanted to be in Moline, where he lived since April 2015, when required to work onsite. Knupp
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even acknowledged that Matter believed this to be true. (Ex. D at Bates 1367, Ex. E at Bates

1109–1112, 1118-1119.)

       33a.     On April 21, just one day after Mr. Applewhite reported using leave on April 20,

Matter explained to Applewhite that “[a]ny vacation requests will need to be approved by me

and I will respond to your requests within 2 business days.” (Ex. D at Bates 1171-1174.)

       37.      All days from May 18 up to, and including June 1, were within fifteen (15) days of

May 17.

       37a.     April 25 Mr. Applewhite's first day of FMLA leave since Deere sent the FMLA

paperwork with understated eligibility entitlement hours on April 21. (Ex. D at Bates 362, 364,

1117, 1203.)

       37b.     All days from April 26 up to, and including May 11, were within 15 days of April

25.

       37c.     The “most recent” date between May 11 and June 1 is June 1.

       37d.     Ciha required Mr. Applewhite to submit the recertification paperwork by May 6.

       37e.     The deadline for Mr. Applewhite to complete Defendant’s health recertification

request was June 1, 2016.

       37f.     On May 6, Ciha confirmed, with the exception of allowing Mr. Applewhite to

accompany his mother to her May 13 doctor's appointment, Deere refused to categorize any

absences occurring after May 6 as absences protected by the FMLA, until his FMLA

recertification materials were approved. [ ECF No. 57-2 Page 25.]

       37g.     Mr. Applewhite's first day of FMLA-eligible missed work since he received the

corrected eligibility notice was May 18.

       37h.     All days from May 19 to June 2, were within 15 days of May 17.

       37i.     The “most recent” date between June 1 and June 2 is June 2.

       37j.     Deere's Disability Services required Mr. Applewhite to submit the recertification

paperwork by June 2.
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       37k.      May 17 at 10:46 PM, Mr. Applewhite submitted all recertification materials

required for the approval of his recertification. [ECF No. 57-1 Pages 57-63.]

       37l.      During the relevant period, Deere’s policy on family and medical leave of

absence explained, “[a]n employee may request FMLA leave on an intermittent or reduced

work hour schedule...If the request is...to provide medically necessary care to a member of the

employee’s immediate family...., Company consent will not be required.” (Emphasis in original.)

(Ex. D at Bates 247, 248.)

       38.       Upon learning that Deere was remaining firm on its recertification submission

deadline, Mr. Applewhite scheduled a home care provider to help take care of his mother, in his

absence, on May 9, 10, and 11. (Applewhite ¶ 15.)

       38a.      May 23, 2016 was the first instance that Mr. Applewhite had taken FMLA leave

since Deere expired his originally approved leave on May 6. Matter accepted Applewhite’s plan

to take leave, and blind carbon copied Knupp on his acceptance notification. (Ex. D at Bates

281-282, 996.)

       39.       Sivertsen shared with Plaintiﬀ that McKasson was allowed to telework while

working under Matter as the CART project lead. (Applewhite ¶ 23.)

       39a.      Steuer testified that he, as a salaried employee, was unaware of having a start or

stop work time while working under Matter or any other Deere employees. (Ex. B at 17: 8-24;

18: 1-7.)

       39b.      Mr. Applewhite hired support to assist his mother during periods that Deere

prohibited him from utilizing FMLA. (Applewhite ¶ 15.)

       41.       Previously, no one that reported to Matter during the relevant time period had a

required start time. His direct reports were able to start work at any of the twenty-four hours of

the day, including as late as 10 PM. (Id. ¶ 7; Ex. B at 30: 23-24, 31: 1-4; ECF No. 56 ¶¶ 65-66;

ECF No. 57-2 Pages 18-20.)
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       41a.    Steuer testified that he, as a salaried employee, was unaware of having a start or

stop work time while working under Matter or any other Deere employees. (Ex. B at 17: 8-24;

18: 1-7.)

       43.     Other similarly situated employees that had not invoked their rights for

intermittent FMLA leave were not subjected to a strict start time and were allowed to telework.

(Id.;Applewhite ¶ 23.)

       44.     On May 13, 2016, McNamara issued Applewhite’s recertification. [McNamara ¶

4; 57-1 at Pages 60-62.]

       44a.    The recertification provided the date of onset, expected duration, and medical

facts of Ms. Applewhite’s condition (Id.; McNamara at Bates 277.)

       44b.    On the recertification, McNamara estimated Ms. Applewhite would require care

on an intermittent basis from July 5, 2015 to July 1, 2017, and explained, “[t]he support of her

son is critical to her day to day living, as well as her mental status.” [ECF 53-9 Pages 9-10.]

       44c.    The recertification issued on May 13, stated the frequency of Applewhite’s

mother’s flare-ups was “TBD,” with an estimated three (3) days of related incapacity per

episode. (Id.; ECF 63-4 Page 21 ¶ 68.)

       44d.    Amber explained, Applewhite was approved for FMLA protected absences,

beginning the day “...your provider approved you.” [ECF 57-2 Page 44.]

       45.     On May 24, Deere, without receiving permission from Applewhite, contacted

McNamara to question her about the recertification for Ms. Applewhite. (McNamara ¶ 7; Ex. D

at Bates 987; Applewhite ¶ 12.)

       45a.     Deere did not contact McNamara to confirm that Mr. Applewhite’s FMLA

intermittent leaves of absence were consistent with Ms. Applewhite’s need for care. It also did

not contact her to clarify the flare-up estimates that she provided. (McNamara declaration ¶ 7.)

       46.     Matter never shared with Plaintiﬀ that he took issue with the time Plaintiﬀ arrived

to his 2016 fiscal year mid-year review. (Applewhite ¶ 18.)
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        47.     On May 12, Claya Knupp instructed Mark Matter to include, in Plaintiﬀ’s fiscal

year 2016 work performance appraisal, negative FMLA-related feedback, disguised as

something unrelated to Mr. Applewhite’s FMLA leave. [ECF No. 57-2 Pages 23.]

        47a.    Matter emailed Knupp feedback that he allegedly received from Mr. Applewhite’s

colleagues:

        Jamaal has told the CART team several times that he is on FMLA due to some
        issues, but is also continuing to work. However, his issues seem to be negatively
        impacting his overall work performance. I would prefer he dedicate himself full
        time to his FMLA needs and return once he is able to be committed to work full
        time.

(Id.)

        47b.    Knupp immediately replied and instructed Matter to change the feedback so

that it contained “[n]o reference to FMLA at all...show[ing] that Jamaal was disengaged and

not committed.” (Emphasis added.) (Id.)

        47c.    Twelve days later, Matter completed Applewhite’s mid-year work performance

appraisal, and, per Knupp’s recommendation, paraphrased the feedback he had received

above to replace all references to Mr. Applewhite’s FMLA leave with remarks about his lack of

engagement:

        [Y]ou have been tardy to many meetings and have had unexcused absences and
        tardiness to work…These have been observed by…individuals who were
        meeting with…You need to make every eﬀort to be in the oﬃce on time...I have
        summarized the feedback I have received…Jamaal is not always engaged...

(Emphasis added.) [ECF No. 53-7 Page 28.]

        47d.    On June 6, Knupp continued to suggest that Mr. Applewhite’s FMLA-

related absences negatively impacted his level of engagement - in her Written Warning

to Mr. Applewhite she wrote: “...it is important that you maintain availability and

engagement.” (Emphasis added.) [ECF No. 53-8 Page 6.]

        47e.    Matter thanked Knupp for her guidance on his mid-year comments for

Applewhite’s goals and summary. (Ex. D at Bates 997.)
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          47f.    On June 7, explained that part of the reason he was not going to approve

some of Applewhite’s vacation requests was “based on the status of your goals...,” and

“[v]acation needs to be used throughout the year.” He also referenced the written

warning issued on June 6 as reason for not approving some of Applewhite’s vacation

requests. (Ex. D at Bates 856.)

          47g.    Steuer testified that Matter’s policy regarding paid time oﬀ was that

“[y]ou were always allowed to take time oﬀ as long as you had your work covered. It

was dependent on you as that person to make sure that you had what you needed

covered.” (Ex. B at Bates 22:20-22, 23:1-5.)

          49.     Tardiness related to Plaintiﬀ’s FMLA was an issue as it impacted how he

was perceived by others. For that reason, he requested, in his mid-year review

summary comments, titled, “Men Lie. Women lie. Numbers don’t”, the following from

Matter:

          I only ask that my evaluations are based oﬀ of facts (instead of perception
          and hearsay). I ask this because I've learned that much of my colleagues
          feedback and opinions are based oﬀ of their **perceptions**...

(Id. 26.)

          50.     Senior Human Resources oﬃcer, global director, Dan Allen’s was even

aware for Mr. Applewhite’s plan to utilize FMLA leave on June 2, yet no Deere personnel

oﬀered Mr. Applewhite an option to re-certify, or attempted to contact Ms. Applewhite’s

healthcare provider to confirm that Mr. Applewhite’s FMLA leave utilization was

consistent with Ms. Applewhite’s needed support. (Ex. D at Bates 952.)

          50a.    Instead, on June 1, Deere planned surveillance on Mr. Applewhite.

staked him. (Applewhite ¶ 19; Ex. D at Bates 952.)

          51g.    The suggested talking point came from Deere's Human Resources

department, and she requested that Matter "[s]hare [Mr. Applewhite's] response with

Claya" after Matter's June 2 meeting with Mr. Applewhite. (Id.)
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          51h.      June 2, was Mr. Applewhite's first day reporting to work after he had taken

FMLA leave that began on May 31, which Deere agreed he was entitled. (Ex. D at Bates 266.)

          51i.      On June 2, Matter scheduled the June 2 meeting with Mr. Applewhite after the

May 31 FMLA leave began, and before Mr. Applewhite returned to work from the same leave.

          51j.      One June 2, less than two (2) hours after Mr. Applewhite first returned to work

from the approved FMLA leave that he began on May 31, Matter held the meeting to address

Deere’s issues with Mr. Applewhite's timeliness on June 2 and May 17. [ECF No. 53-7 Pages

18-19.]

          51k.      During the meeting, Matter shared with Mr. Applewhite that as a result of the

timing of his return, June 2 was treated as an "unexcused tardy." Matter still welcomed him to

work as late into the evening as needed to get his work completed.8 Matter took notes that

Applewhite, in response to the warning, responded, “I believe per the doctors information that I

am fine to use FMLA.” (Applewhite ¶ 20; Ex. D at Bates 931-932, 953.)

          51l.       Mr. Applewhite completed a full day's work even though he began his shift in

the afternoon. (Applewhite ¶ 20.)

          51m.      On occasion, Steuer began work as late as 10 PM. (Steuer 30: 23-24, 31: 1-4.)

          51n.      Matter’s talking points for the meeting were provided by Ciha and Knupp, which

included the note, “[d]o not oﬀer answers to his questions.” (Ex. D at Bates it all 949, 953.)

          51o.      During the meeting, Matter shared his concerns with Mr. Applewhite taking an

extended lunch, and informed him that he would be following up with Deere's HR department

for disciplinary actions.9 (Id.)

          51p.      On June 3, Matter reiterated, via email, what he shared in the discussion

meeting, that even though Mr. Applewhite made up work hours that he spent on an extended




8Mattershares with Mr. Applewhite, "...[y]ou can work as long as you need to catch up on your work this evening as you are an
exempt employee but it does not make up for your unexcused tardy."


9During the "Discussion" meeting, Matter tells Mr. Applewhite "...leaving for several hours in the middle of the day without any
communication to me, your manager, is not acceptable and I will need to work with HR to determine next steps."
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lunch, it "...still [did] not excuse the fact that [he was] out of the oﬃce..." [ECF No. 53-7 Pages

18-19.]

          51q.    Steuer testified that he was unaware of Matter's policies regarding taking breaks

during the middle of the day, extended lunches, and unpaid time oﬀ because no conversation

of the like "was ever shared with [him]." (Ex. B at 21: 5-24, 22: 1-11.)

          51r.    In regards to his understanding of time oﬀ policies while working for Matter,

Steuer explained, "[y]ou were always allowed to take time oﬀ just as long as you had your work

covered. It was dependent on you as that person to make sure that you had what you needed

covered." (Ex. B at 23: 1-4.)

          51s.    Knupp testified that she was not aware of any policy, documented by Deere,

that addressed exempt employees who had lunches that lasted more than thirty (30) minutes.

(Ex. A at 56: 21-24.)

          52g.    Steuer testified that team meetings with Matter regularly started and ended late

for several reasons, including, the previous meeting running over, and technical diﬃculties with

the VC run and instant message system softwares. (Ex. B at 11: 24, 12: 1-24, 13: 1-24)

          52h.    Steuer testified that he could not recall the exact number of meetings that he

had been late to, but admitted that he had been late to several meetings, and could not limit

the number . (Ex. B at 14: 20-22, 16: 1-24, 17: 1;18: 1-7.)

          52i.    Steuer testified that Matter never reprimanded him for being late to a meeting.

(Ex. B at 17: 2-4.)

          52j.    Knupp testified that it was Deere's policy to allow employees paid, sick time oﬀ

for five (5) or more consecutive days, and the only requirement to activate this benefit was to

"[n]otify your manager, let your manager know that you're out of the oﬃce." (Ex. A at 54:

19-23.)

          52k.    She also testified that Deere only required employees that had been absent, out

of the oﬃce after six (6) days in a row to work with the Disability Services department on short-

term disability. (Ex. A at 54: 6-14, ECF No. 22 ¶ 79.)
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       53.     The warning created new work restrictions for Plaintiﬀ of which similarly

situated employees were not subjected like requiring a doctor's note after taking one

sick day oﬀ work. [ECF. No. 56 ¶¶ 78-80; Ex. A at 54: 3-23; ECF No. 57-2 Page 1.]

       53a.    Mr. Applewhite used less than (5) sick days in 2015 and 2016. (Ex. D at

1988-89.)

       55f.    June 7, Curran shared that the most recent medical recertification, which was

faxed directly to his department by Ms. Applewhite’s healthcare provider, estimated Ms.

Applewhite’s flare-ups to occur 2 times per week. [ECF No. 57-2 Pages 4-7.]

       55g.    Knupp testified that she was not surprised that the supervisor of Disability

Services department declined the meeting Mr. Applewhite scheduled to discuss his concerns

regarding retaliation and interference because "[t]ypically, the employee works with their

manager and HR..." (Ex. A at 37: 12-24, 38: 1-3, 38: 15, 38: 19-20.)

       55h.    Knupp admitted that she could not recommend a person that should have been

included in the meeting that. (Ex. A at 39: 15-17.).

       55i.    Knupp shared that she would have advised Mr. Applewhite to include Davis,

Curran's subordinate, to the meeting that Curran declined, and only would have expected

Curran to be involved only if questions need to be escalated. (Ex. A at 39:22-24, 40:1-2.)

       57a.    Knupp testified that she was one of the decision makers in the

termination of Mr. Applewhite's employment. (Ex. A at 10:15-22.)

       57b.    As a result of Mr. Applewhite’s employment being terminated by Deere

and Ms. Applewhite’s continued need for care (Ex. E at Bates 1113 to 1115), even after

seeking comparable employment and acquiring additional skills and education (Ex. E at

Bates 1123 to 1127, 1146-1150), he has yet to land a similar job with comparable pay,

and depleted his retirement benefits to cover his living expenses. (Applewhite ¶ 30.)

       57c.    The employee options that he was oﬀered were limited due to his

continued need of FMLA leave to help his mother with her serious health condition that
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continued years after Deere terminated his employment. (Ex. E at Bates 1113 to 1115;

Applewhite ¶ 30.)

       57d.    During the relevant period, Deere’s policy regarding the disciplinary

procedure for its salaried employees working in the USA stated, “[i]n cased related to

performance or behavior, the employee should first...be counseled as to how to correct

[areas of shortcomings], and be given a reasonable time to do so...Where one exists, a

formal improvement program (i.e., the Employee Performance Improvement (EPI)

process) should be used. (Ex. D at Bates 1924.)

       57e.    During the relevant period, Deere’s policy regarding the disciplinary

procedure for its salaried employees working in the USA stated, “[d]iscussions with an

employee regarding shortcomings of performance or behavior should be held on a

timely basis, that is, as soon after an incident occurs or comes to the supervisor's

attention, or during the periodic performance appraisal.” (Ex. D at Bates 1924.)

       63.     Matter testified that Wolﬀ was late to meetings as well. (Applewhite ¶ 11.)

ARGUMENT

I.   RETALIATION

       An employee can prove retaliation circumstantially, using a variant of the McDonnell-

Douglas method of proof. Specifically, a plaintiﬀ must show that: (1) he exercised rights

aﬀorded by the Act; (2) he suﬀered an adverse employment action; and (3) there was a causal

connection between his exercising of rights and the adverse employment action. See Darby v.

Bratch, 287 F.3d at 679 (8th Cir. 2002). Here, it is undisputed that the first and second prongs

are met. Deere disputes only that there is a causal connection between Mr. Applewhite's

exercise of his rights of the FMLA and the termination of his employment.

       After defendant articulates a nondiscriminatory reason for an adverse employment

action, the Plaintiﬀ must show the Defendant’s justification is pretext, unworthy of credence.

Reeves v. Sanderson Plumbing Prods., Inc., 530 U.S. 133, 143 (2000). To do so, a plaintiﬀ can

produce evidence that the reason for taking the adverse action: (1) had no basis in fact; (2) did
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not actually motivate the employer's action; or (3) was insuﬃcient to motivate the employer's

action. E.E.O.C. v. Ford Motor Co., 752 F.3d 634, 649 (6th Cir. 2014). Here, the record shows,

under each option, that Deere’s stated reason for Mr. Applewhite's termination was pretext for

retaliation. Deere claims Plaintiﬀ was terminated because of excessive tardiness and

absenteeism. Contrarily, Mr. Applewhite proves that his use of intermittent FMLA leave, and

complaints about violations of his rights was the actual motivation for Defendant’s decision.

       A.      Plaintiﬀ Establishes a Causal Connection Between His Protected Activities and
               Deere’s Adverse Actions


       Deere attempts to negate any casual nexus between Plaintiﬀ’s termination and his use

of FMLA leave by overcomplicating Plaintiﬀ's requirements for establishing prima facie. It

focuses on two areas of controversy in support: 1. Plaintiﬀ's alleged attendance issues; and 2.

the six-month time period between when it fired him and when Mr. Applewhite first requested

his FMLA leave of absence. It is important to note that the burden of establishing a prima facie

case is not onerous but one easily met, as the burden of proof at this stage is minimal. See

EEOC v. Avery Dennison Corp., 104 F. 3d 858 (6th Cir. 1997). The Court of Appeals highlights

the fact that "the EEOC argued that to prove a prima facie claim, it was suﬃcient for a plaintiﬀ

simply to proﬀer evidence suﬃcient to raise an inference that the protected activity was the

likely reason for the adverse action." See also Dixon v. Gonzales, 481 F3d 324 (6th Cir. 2007);

       In regards to Plaintiﬀ's alleged attendance issues, Defendant claims that Plaintiﬀ admits

to being responsible for the issues related to his attendance prior to requesting leave. However,

Plaintiﬀ did not claim responsibility for the issues, and never admitted that he had unexcused

tardiness issues. Furthermore, Plaintiﬀ argues that the progressive discipline that led to his

termination was independent of his attendance at meetings, and provoked only by his

absences that were considered unexcused after Deere denied his FMLA requests. Prior to Mr.

Applewhite formally requesting FMLA leave in December 2015, Deere oﬀered no inclination

that Mr. Applewhite's attendance was a problem. It only shared glowing remarks for his work

performance, and reflected its astonishment of his immediate and positive impacts in his
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appraisals. On May 16, after Mr. Applewhite attempted to use FMLA leave, it denied his

request. The following day, Matter created discriminatory work requirements for Mr. Applewhite

- for the the first time ever he, unlike similarly situated employees, was required to begin work

at a set time and had to give Matter a 48-hour advanced notice for vacation requests, infra.

Plaintiﬀ cites Lamer for the proposition that "where an employer treats an employee diﬀerently

after he asserts his rights than before he had done so, a retaliatory motive may be inferred."

See Lamer v. Metaldyne Co. LLC, 240 F. App'x 22, 32 (6th Cir. 2007). On June 2, Deere issued

him a written warning for being tardy to work on May 16 and June 2, which were two days that

he notified Deere of his intent to take leave.

       Secondly, as it relates to the six month period between Plaintiﬀ’s first FMLA leave

request, Defendant, in error, calculated temporal proximity by counting the days from the date

that Mr. Applewhite formally submitted his original FMLA leave request paperwork to the date

Deere terminated his employment, and arrived at its tangential six month period. In the case

MacKenzie v. Caplan Industries, Inc., (Dist. Court, ED Pennsylvania 2019), Defendant moved to

dismiss Plaintiﬀ's claim of FMLA violation, alleging Plaintiﬀ failed to suﬃciently plead causation

between his termination and FMLA leave because the seventeen weeks between Plaintiﬀ's

request for FMLA leave and his termination were not "unusually suggestive" of a casual

connection. Contrarily, the Court noted:

       A plaintiﬀ may establish a causal connection between protected activity and an
       adverse action either through (a) "an unusually suggestive temporal proximity
       between the protected activity and the allegedly retaliatory action," or (b) "a
       pattern of antagonism coupled with timing to establish a casual link." Budhun [v.
       Reading Hosp. & Med. Ctr.], 765 F.3d at 258 (quoting Lauren W. ex rel. Jean W. v.
       DeFlaminis, 480 F.3d 259, 267 (3d Cir. 2007)).

The Court analyzed temporal proximity beginning on the last day of Plaintiﬀ's initial twelve

weeks of leave. Consequently, Defendant's motion was denied. Similarly, in the current case,

Deere's attempt to negate the obvious causal nexus between Plaintiﬀ's protected activities

should be rejected. Plaintiﬀ establishes causal connection using both options.
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            On June 15, 2016, Deere departed from its disciplinary policy - it expedited the

termination of Mr. Applewhite's employment without putting him into its Employee

Performance Improvement (EPI) program, supra DMF ¶ 57. Uncoincidentally, Plaintiﬀ had just

twice opposed Deere's FMLA violations: firstly, nine (9) days prior he complained to several

Deere managers that his FMLA rights were being violated10; secondly, hours before he was

fired, against Deere's orders, he reported taking approximately fifteen (15) minutes of leave

earlier that day. It is also important to note that this expeditious termination occurred less than

one (1) month after Mr. Applewhite's recertification was approved, supra DMF ¶ 55. Firing Mr.

Applewhite was just Deere’s most egregious and obvious retaliatory action, and the last step in

its retaliatory progressive discipline, which consisted of two earlier, unwarranted steps.

Together, the three steps served as the final link in Deere's chain of spiteful actions;

       ‣ On May 17, after Applewhite’s recertification was issued on May 13, Deere executed the
          first step in its progressive discipline of Mr. Applewhite, a verbal/informal, first warning to

          him. It was for an unexcused absence that occurred on May 16 - Deere denied his

          request for FMLA leave to cover the absence.

       ‣ On June 6, Deere initiated its second step of its progressive discipline for Mr. Applewhite
          - issued him a formal, written warning for unexcused absences on May 16 and June 2.

          Deere denied his request for FMLA leave to cover both absences.

       ‣ As mentioned above, Deere concluded its progressive discipline by firing Mr. Applewhite
          on June 15, 2016 just hours after he notified Deere of his intent to take leave for that

          same morning.

Each of the three (3) steps that made up Deere's progressive discipline transpired less than

four (4) days after protected activity. Such a short time period between protected activities and

adverse employment actions, indubitably, fall within the Third Circuit's 2-month time-frame for

unusually suggestive temporal proximity. See Williams v. Phila. Hous. Auth. Police Dep't, 380

F.3d at 760 (3rd Cir. 2004).


10   ECF No. 57-1 Page 95; Applewhite ¶ 21
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       Deere's chain of antagonizing actions, which instigated its progressive discipline and

consisted of about eleven (11) impermissible events, also fall within the Courts timeframe for

unusually suggestive timing:

   ‣ December 23, Mr. Applewhite was approved for FMLA leave, and less than three (3)
      weeks later:

       - on January 8, Matter required Mr. Applewhite to spend significantly more time on less
         desirable work than similarly situated employees (Ex. D at Bates 1606, 1609-1612;

         supra AMF 3h); and

       - weeks later, Deere created a so-called anonymous complaint that resulted in an
         internal investigation of Mr. Applewhite that concluded in him being removed from a

         leadership recruiting role.

   ‣ February 19, Mr. Applewhite participated, via Deere's internal investigation, in a
      complaint against Deere for retaliation and discrimination against himself.

    - Nine (9) days later, on March 1, for the first time ever (supra AMF ¶ 29), Deere issued
       Mr. Applewhite an annual merit award that was a 0% pay increase.

   ‣ March 6, Mr. Applewhite complained to Knupp that his supervisor was interfering with his
      FMLA rights.

   ‣ April 18, Knupp admitted the employee’s protections under the FMLA frustrated her.
      [supra AMF ¶ 20, 20b, 20c; ECF 63-4 ¶¶ 29,31.] After being advised of Plaintiﬀ's FMLA

      rights, she decided with Rathburn that Mr. Applewhite's telework arrangements should

      be revoked. Consequently, Deere:

       - three (3) days later, on April 21, grossly understated the number of leave hours for
         which he was eligible;

       - on April 22, (now) required all vacation requests be pre-approved; and
       - on April 25, revoked Mr. Applewhite's telework privileges.
   ‣ May 4, after Mr. Applewhite notified Deere of his intent to complete its recertification, it:
       - two (2) days later, on May 6, voided his approved FMLA certification;
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       - on May 12, Knupp and Matter conspired to disguise negative comments about
            Applewhite’s use of leave as non-FMLA, job-related deficiencies;

       - on May 16, upheld its FMLA prohibition, by denying Mr. Applewhite the option to take
            FMLA leave that same morning; and

       - on May 17, Deere began to take issue with him working late shifts, and required him
            to begin work by 8 AM going forward; and

       - started to scrutinize Mr. Applewhite's attendance more than that of similarly situated
            employees by actually planning and conducting surveillance on him, inside and

            outside the SWOB oﬃce.

   ‣ May 13, after McNamara issued Applewhite’s recertification for intermittent FMLA leave,
      Deere:

       - on May 17, initiated its progressive discipline that concluded in the termination of Mr.
            Applewhite's employment on June 15.

       - Seven (7) days later, on May 24, Plaintiﬀ's supervisor shared a negative performance
            appraisal for Mr. Applewhite.



       B.       Plaintiﬀ Presents A Preponderance of Evidence Supporting A Reasonable
                Conclusion That The Alleged Basis For His Termination—Excessive Tardiness
                And Absenteeism—Was Pretext for Retaliation


       Defendant claims that it is inconceivable and inconsistent for it to approve and enhance

Plaintiﬀ's FMLA leave requests, only to retaliate against him months later for exercising the

same rights. However, the undisputed evidence, highlights Deere's bold and reckless

indiﬀerence to the federally protected rights of Plaintiﬀ. Infra, Plaintiﬀ, through referencing an

abundance of undisputed incidents, further demonstrates that Defendant’s basis for firing him

was pretextual, and uncovers Defendant’s retaliatory motives. He highlights Deere’s: animosity

toward the burden that resulted from his use of intermittent FMLA leave; antagonizing decision-

makers; and strategy to perpetuate unprotected leaves of absence.
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Evidence Demonstrates That Deere Acknowledged a Retaliatory Motive for its Materially
Adverse Action.


       Deere camouflages its retaliatory behaviors as support of Applewhite’s leave.

Applewhite uncovers its most deceiving act, an assertion that its complex and unreliable

telework arrangement was as an “enhancement” to Applewhite’s FMLA rights. Although

Plaintiﬀ, at first glance, believed the telework oﬀer to be made in good faith, the evidence

illustrates that Deere used it as pretext for recertification and firing him. Less than two weeks

after Applewhite began teleworking from where he helped take care of his mother, in lieu of

taking leave, Knupp investigated the option to close his FMLA on the basis that he reduced his

FMLA use, supra DMF ¶ 17. Similarly, Deere now argues that an increase in FMLA use,

connected to its truncated telework privileges, justifies its recertification request, which, it

argues, legitimizes some its FMLA interference behaviors that occurred after May 6, 2016.

       It is undisputed that Deere's HR representatives had negative emotions, and took issue

with managing Plaintiﬀ's intermittent leave. Knupp, on April 18, after being advised of Plaintiﬀ's

FMLA rights, shared her frustration, and decided with Rathburn that Mr. Applewhite's telework

privileges should end because some of the days he utilized leave coincided with days he was

expected to work from the oﬃce. [ECF No. 56 Page 13 ¶¶ 29-30.] As part of the same email

exchange, she admitted, via email, her aggravation to her manager. Deere, determined to

dissuade Mr. Applewhite from invoking his rights under the FMLA, brazenly:

   ‣ attempted to invalidate his original certification;
   ‣ misstated the number of FMLA leave hours in which he was entitled see 29 C.F.R. §
      825.205(b)(1), see also 29 C.F.R. § 825.305(d); see also Arban v. West Publ'g Corp., 345

      F.3d 390 (6th Cir. 2003);

   ‣ required, before legally allowed, him to complete a recertification, and oﬀered him fewer
      days to complete it than legally required. 29 CFR § 825.308(b); see also 29 CFR §

      825.203; and
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     ‣ refused to report Applewhite's concerns that he was a victim of FMLA retaliation, supra
          DMF ¶ 29, AMF¶ 2a.

           Knupp, during her deposition, painted herself as never one to get frustrated, and

testified that Mr. Applewhite's FMLA leave rights did not frustrate her.11 The evidence shows

that she was clearly being deceitful as, on April 18, she literally complained to her colleagues

about how diﬃcult it was to manage Applewhite’s leave, and admitted being frustrated by his

FMLA rights, supra AMF 20, 20b, 20c. Under her advisement, Plaintiﬀ’s telework privileges

were oﬃcially revoked on April 25, 2016. (Id.) Then, On May 12, less than one month after, she

advised Plaintiﬀ's supervisor to disguise negative comments about his leave as non-FMLA

related deficiencies.12 [ECF No. 56 ¶¶ 55-58; ECF No. 57-2 Page 23; ECF No. 57-1 Pages 1-9.]

Matter complied with Knupp's recommendation, terminated his telework arrangements,

incorporated the disguised FMLA comments as part of his work performance appraisal, and

oﬀered Mr. Applewhite a 0% base pay increase that was surprisingly inconsistent with Matter's

appraisal of his work performance and Deere's guidelines, supra AMF ¶ 29. See also 29 C.F.R.

§ 825.220(c), 29 C.F.R. § 825.205(a)(1) ("...employers cannot use the taking of FMLA leave as a

negative factor in employment actions, such as hiring, promotions or disciplinary actions...").


Deere Practiced Several Actions That Would Deter Reasonable Individuals From Utilizing FMLA
Leave and Reporting Violations of the FMLA.


           In an eﬀort to discourage Mr. Applewhite from taking intermittent FMLA leave and

reporting FMLA violations, it required he recertify every 30 days, beginning May 6, 2016, supra

DMF ¶ 38. Furthermore, it disciplined him for taking leave, made it impossible for him to cure

deficiencies, treated him worse than similarly situated employees, departed from its own

policies, and shared unwarranted and inconsistent unfavorable comments in his work

performance appraisals.

11Knupp  testified, "I mean, I'm not normally a frustrated type of person. I don't get frustrated. So that's not a word that I would use
to describe how I felt." (Ex. A at 19: 2-24; 20: 17-24.)

12Knupp commanded, "[n]o reference to FMLA at all...[p]araphrase the feedback below to show that Jamaal was disengaged and
not committed..." [ECF No. 57-2 Page 23.]
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Deere administered an adverse employment action to Mr. Applewhite each time he took leave
or opposed its FMLA interferences, and blocked his attempts to prevent unexcused absences.

       Nearly every month since Applewhite began taking leave in January 2016, he suﬀered

adverse employment actions after participating in FMLA protected activities.In January, right

after Applewhite took his first leave of absence, Deere removed him from his leadership

position on its recruiting team for the National Society of Black Engineers. In February,

Applewhite continued to take leave, intermittently. In March, after Applewhite, undeniably out

performed his predecessors (Ex. D at Bates 1610,1611), his supervisor rated him as having a

"successful performance" and being on track with expectations. Yet, somehow Deere denied

him a merit increase for the first time in his ten-year career, and without any justification. In

April, after Knupp admitted to the nuisance related to Applewhite’s intermittent leave, Deere

revoked his telework privileges. In May, it voided his FMLA leave, denied his recertification, and

disciplined him for an unexcused absence for a day he requested FMLA leave, supra DMF ¶

39. As part of the discipline, it required him to begin work by 8 AM, else suﬀer disciplinary

action. Approximately two weeks later, in June, Deere organized surveillance on Applewhite,

put him on notice that he was being closely watched. It even had a security vehicle trail him,

after work, on his way home, supra AMF ¶ 50a.

       Deere discovered no incriminating evidence from its surveillance of Applewhite.

Nevertheless, around the same time period, it denied his request to take FMLA leave for his

absences on May 16 and June 2, and issued him a written warning, considering them

unexcused, despite his suﬃcient recertification. Matter's discussion with Applewhite, and his

talking points in preparation for the formal warning, exemplify that Deere was intentionally

ambiguous and non-cooperative when Applewhite posed questions about his FMLA rights. In

preparation for Applewhite’s discipline, Matter blatantly noted, “[d]o not oﬀer any answers to

[Applewhite’s] questions...,” supra DMF ¶ 51. Consequently, Applewhite immediately protested

the admonishments and attempted to rectify Deere's interference by initiating discussions with

various human resources personnel. Deere's unit human resources department personnel

directed him to contact its Disability Services Department for his FMLA questions. However,
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even Deere's Disability Services department refused to meet with him to address his concern

that he was not being allowed to take leave three times per week like the recertification

explained was needed for care, supra DMF ¶¶ 44,55 and AMF ¶¶ 55f-55i. Such a failure to

identify deficiencies in Applewhite’s medical certification, to provide an opportunity to cure

deficiencies, and answer FMLA-related questions violates the FMLA. The FMLA explains,

"[e]mployers are...expected to responsively answer questions from employees concerning their

rights and responsibilities under the FMLA." See 29 C.F.R. 825.300(c)(5). About two weeks after

Deere ignored Applewhite’s protest, on June 15, the day he returned from approved leave, it

fired him in retaliation, but alleged the reason was because he exceeded the estimated need

for care by fifteen minutes. See Hansen V. Fincantieri Marine Group, Llc, Dist. Court, ED

Wisconsin 2013, where the court determined “Hansen's absences were not so far in excess of

the estimated frequency and duration” to warrant adverse employment action. See Hansler v.

Lehigh Valley Hosp. Network, 2015 WL 4925819, at *6-7 (3d Cir. 2015); see also Sims v.

Alameda-Contra Costa Transit Dist., 2 F.Supp.2d 1253 (N.D.Cal. 1998). Sims’ absences

exceeded the frequency of absences predicted in his certification. Since Alameda did not allow

him to cure the deficiency before firing him, the Court ruled it could not deny him FMLA leave

based on the perceived insuﬃciency.

In dealings with Mr. Applewhite, Deere departed from its documented policies and customary
procedures, and treated Applewhite less favorably than similarly situated employees.

       Deere’s Code of Business Conduct policy requires managers and Human Resources

staﬀ to, “immediately, and without investigating,” report potential illegal acts. [ECF 63-4 ¶ 28.]

However, Knupp and Matter, in three separate incidents, admitted that they did not properly

report Applewhite’s concerns of FMLA retaliation when he shared it with them. Knupp, twice

investigated the concern herself, and concluded no foul play [supra DMF ¶ 29, AMF ¶ 29a;

ECF 63-4 ¶ 67.] Matter reported it, but waited about seven months later, supra AMF ¶ 2a.

       Deere's disparate treatment of similarly situated employees demonstrates Applewhite

was a victim of retaliation. Matt Steuer, Olga McKasson, and Nick Wolﬀ were three employees
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that were similarly situated to Mr. Applewhite. All four employees worked as full-time, salaried,

exempt employees, in the same department, with the same titles and/or job responsibilities,

and reported directly to Matter. Steuer and Applewhite, both reported to Matter during

Applewhite’s leave, and were project leaders for the development and maintenance of software

programs. Wolﬀ and McKasson's held Applewhite’s role before he was hire. The notable

diﬀerences amongst the four employees was that Applewhite was the only one that: 1. invoked

his rights to take FMLA leave, intermittently; and 2. opposed Deere for violating FMLA rights.

       Completing project type work was known to be more desirable than analyzing the cost

of parts, supra AMF ¶ 3h. Still, Matter made the analysis of parts a job responsibility for every

CART project leader. Applewhite, even though he was required to, and completed, significantly

more analyses than both of his predecessors combined, was the only similarly situated person

that received negative evaluation comments for his should cost performance, supra ¶ 17.

Adding salt to the wound, Matter based his denial of Applewhite’s vacation requests on

Applewhite cost analysis performance. Steuer testified that Matter’s direct reports could take

vacation at their leisure. Matter testified that Applewhite was the only that reported to him,

which he denied a request to take vacation. Similarly, after June 2, Applewhite was required to

provide a doctor’s note after taking one sick day oﬀ from work, and Knupp testified that

Deere’s policy was to only require a note after five sick days, supra AMF ¶¶ 52j, 53, 53a.

       Ciha testified that Deere's FMLA policy permitted Applewhite to take intermittent FMLA

leave without Deere’s consent. (Applewhite ¶ 15.) However, it is undisputed that Deere

departed from its policy when she shared that the basis of Deere’s recertification request was

rooted in the belief that Mr. Applewhite's leave should be changed from intermittent to

continuous. [ECF 63 Page 6 ¶ 37.] On top of that, “[t]he FMLA was not intended to impose

onerous procedural burdens on employees who need medical leaves of absence,” but, for

recertification, Deere demanded Applewhite prove that Ms. Applewhite was actually his mother.

See Manuel v. Westlake Polymers Corp., 66 F.3d 758, 763 (5th Cir.1995). Even Knupp testified
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that she had never witnessed Deere require an employee to re-certify before their current FMLA

approval expired. (Ex. A at 51: 8-18.)

       On May 17, Matter issued Applewhite a warning for taking an extended lunch and

arriving to work after 1 PM on May 16. He also denied Applewhite’s attempt to take FMLA

leave. [ECF 57-2 Pages 18-20; supra DMF ¶ 42.] Like the similarly situated employees,

Applewhite was never previously disciplined for beginning work in the afternoon because

Matter’s policy allowed employees to work at anytime of the day, supra DMF ¶ 41, AMF ¶¶ 41,

41a, 43. Similarly, extended lunches were not prohibited, but Applewhite was disciplined

(Applewhite ¶¶ 20,25). After May 17, on Applewhite (and none of the similarly situated

employees), was required to start work at a specific time. This proves the warning was actually

pretext for discrimination. Applewhite’s attendance, in all aspects, was scrutinized more closely

than that of similarly situated employees. Consequently, Mr. Applewhite was the only

employee that directly reported to Matter who was even allegedly disciplined for missing

meetings or arriving to them after they started. The undisputed record is clear that Deere based

its decision to revoke his telework privileges on the fact that a portion of his FMLA leave

coincided with days he was expected to work from the oﬃce, supra UMF ¶ 34. Again,

Applewhite was the the only similarly situated employee that had his telework privileges

revoked. (Applewhite ¶¶ 23, 24.)

Deere included unwarranted and unfavorable comments in Applewhite’s work performance
appraisal.

       Before Mr. Applewhite requested FMLA leave in December 2015, Matter had given him

better, meritorious work performance appraisals. (Supra AMF ¶ 8; ECF 63-4 ¶ 7.) After

February 2016, when Plaintiﬀ participated in a complaint against Deere for discrimination and

retaliation (Supra AMF ¶¶ 2-2c), and after March 2016, when Plaintiﬀ complained to Knupp

about his manager's retaliation, Defendant made sure negative comments in Applewhite’s work

performance appraisal, which reduced his likelihood of receiving future bonuses, raises, and

promotions. (Supra AMF ¶ 47, ECF No. 56 ¶¶ 57-60; ECF No. 57-1 Pages 1-9.) Such a drastic
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change in Defendant's view and treatment of Plaintiﬀ over such a short period of time and in

such close temporal proximity to Plaintiﬀ's protected activities further gives rise to an inference

of retaliation. See Lamer v. Jvletaldyne Co. LLC, 240 F. App'x 22, 30 (6th Cir. 2007). "Where an

employer treats an employee diﬀerently after he [engages in protected conduct] than before he

had done so, a retaliatory motive may be inferred."


II. INTERFERENCE

       Per the FMLA, specifically 29 C.F.R. § 825.220(b), "[a]ny violations of the Act or of these

regulations constitute interfering with, restraining, or denying the exercise of rights provided by

the Act. In order to be successful in an interference claim, Plaintiﬀ only needs to prove that

Defendant violated the FMLA or its regulations in one way. However, Plaintiﬀ incorporates the

arguments in the proceeding retaliation section with this interference count, and proves that

Defendant actually committed over ten (10) violations, which prejudiced him. Some of the

highlighted violations demonstrate that the Defendant was willful in its actions, which makes

the three-year statute of limitations applicable.

       Defendant attempts to paint a picture that they were more supportive, than required by

law, of Plaintiﬀ’s attempts to exercise his rights under the FMLA. It argues, “[i]t is inconceivable

that Deere, at first instance it learned of Plaintiﬀ’s FMLA needs, support and enhanced

Plaintiﬀ’s FMLA leave...only to retaliate later for exercising the same FMLA rights.” However, it

is undisputed that in February 2015, Mr. Applewhite notified Matter, his supervisor, of his need

to help his mother, who lived in Chicago. Matter, nor any other Deere representatives, at that

time, shared with Mr. Applewhite his FMLA eligibility notice. [ECF 63-4 ¶ 14.] In Morkoetter, an

employee who was not even eligible for FMLA leave nonetheless gave notice to his employer

of his “need to take FMLA in the future,” and the court held that the employee suﬃciently

alleged he engaged in protected activity. See Morkoetter v. Sonoco Prods. Co., 936 F. Supp. 2d

995,1001 (N.D.Ind. 2013). On the contrary, Deere was required to share with Mr. Applewhite,

his "...eligibility to take FMLA leave within five business days..." of when Mr. Applewhite
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requested FMLA leave, but it did not. See 29 C.F.R. § 825.300(b). Furthermore, Deere claims to

have “enhanced” Plaintiﬀ’s leave by decreasing his need to take leave by allowing him to work

from home more often. However, soon after Plaintiﬀ accepted its telework arrangement, Deere

conspired options to terminate his approved leave under a “use it or lose it” strategy, supra

DMF ¶ 17.

       Deere, in support of its claim that it fired Applewhite for non-discriminatory reasons,

argues its warning for excessive tardiness and absenteeism, were motivated by Applewhite’s

tardiness to meetings before he began to take leave, over five months prior. However, this is

inconsistent with the undisputed evidence, and noncompliant with its disciplinary policy that

states “[d]iscussions with an employee regarding shortcomings of performance or behavior

should be held on a timely basis, that is, as soon after an incident occurs,” supra ¶ 57e.

       A.      Deere’s FMLA Interference Since June 12, 2015 Are Not Time-Barred

       Deere’s actions of interference that occurred on June 15, 2016 and three years prior are

not time-barred because Plaintiﬀ proves that the three-year statute of limitation applies, infra.

Even if somehow the Court determines that the three-year statute of limitations does not apply,

none of Deere’s acts of interference that are connected to Plaintiﬀ’s termination of employment

are time-barred because Plaintiﬀ’s termination of employment was only the “...last event

constituting the alleged violation for which the action is brought,” which occurred within the

FMLA’s two-year statue of limitation, on June 15. (Emphasis added.) See 29 U.S.C. § 2617(c).

The progressive discipline used to fire Plaintiﬀ consisted of events that took place before June

12 (i.e., revocation of telework privileges on April 25, issuance of verbal warning for tardiness

on May 16, implementation of a work start time on May 17, and delivery of written warning on

June 5), which constituted the same termination violation. Therefore, he would not have been

fired had the May 16 and June 2 reprimands not been administered.

       B.      The Three-Year Statute of Limitations Applies

       The three-year statute of limitations applies because several of Defendant's FMLA

violations were willful. See 29 U.S.C. § 2617(c)(2). The evidence shows that Defendant's local
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human resources representative, Ms. Knupp, advised Plaintiﬀ's supervisor to disguise negative

comments about his FMLA leave, and include it in his performance appraisals. Additionally, the

evidence shows that Plaintiﬀ's supervisor, in preparing to issue a warning about Plaintiﬀ's

absences, deliberately violated 29 C.F.R. 825.300(c)(5), which explains "[e]mployers are also

expected to responsively answer questions from employees concerning their rights..." June 1,

per Deere’s Human Resources personnel’s instructions to "...not oﬀer answers to [Plaintiﬀ's]

questions," Matter complied (supra AMF ¶ 51f.) Plaintiﬀ was so shocked by the blatant

disregard of his rights, that he, literally, protested, "[t]his is a violation of my right." Even worse,

the undisputed evidence shows that the Defendant's department responsible for managing

FMLA leave requests refused to participate in a meeting that was created by Plaintiﬀ with the

intent to clarify his healthcare certifications, rectify alleged violations, and prevent future

deficiencies.


        C.       Plaintiﬀ Was Denied FMLA Benefits to Which He Was Entitled Under the
                 Certifications Approved on December 2015 and May 2016

Deere’s recertification request was improper so the original certification, per the FMLA,
permitted Mr. Applewhite to take leave to help his mother any day from December 23, 2015 to
December 22, 2016, until his 60 days of entitlement were fully depleted.


        According to the originally approved health certification, none of Mr. Applewhite's leave

requests that occurred between December 23, 2015 and December 22, 2016 should have been

prohibited because it is undisputed that it permitted Applewhite to take a leave every day until

he exhausted the sixty days for which he was entitled. [ECF 63-4 Page 7 ¶ 20.] The health

certification that was, undisputedly, issued by McNamara on December 23, 2015 and approved

by Deere on January 4, 2016 indicated the duration of Ms. Applewhite’s condition was

“indefinite,” and estimated Ms. Applewhite’s need for care to be everyday for at least one year.

As a result, per 29 C.F.R. § 825.308(b), Deere was only “… permitted to request recertification

every six months in connection with an absence.” Consequently, June 22, 2016 was the

earliest date that Deere could request a recertification. Deere intentionally confounds

McNamara’s estimated frequency, sixty times per two months, as a minimum duration of sixty
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days in order to legitimize the recertification request that it sent before legally allowed. Because

the undisputed the material facts demonstrate that: 1. McNamara estimated the duration of

condition to be “indefinite” [ECF 63-4 ¶ 19.]; 2. Deere’s decision makers admitted they believed

Applewhite to be a truthful person [supra AMF ¶ 8, Applewhite ¶ 25; ECF 63-4 ¶ 38]; and 3.

approved the original certification, its basis for recertification was, undeniably, unreasonable

and a violation.

       On May 5, 2016 Ciha admitted Deere based its decision to require a health

recertification before six months on their unfounded belief that Mr. Applewhite's leave should

be changed from intermittent to continuous leave, supra ¶ DMF 38. However, per Deere’s

policy (supra AMF ¶ 37l) and the FMLA, Ciha did not have authority to request that Plaintiﬀ

modify his leave from intermittent to continuous when caring for a parent, supra AMF ¶ 37l.

See 29 U.S.C. § 2612(b)(1), FMLA “leave [to care for the parent of the employee]...may be

taken intermittently..." For this reason, Deere’s basis for recertification was (again)

unreasonable and a violation. In the FMLA, for intermittent leave needs in excess of six (6)

months, there are only three (3) conditions that permit an employer to request a recertification,

before six (6) months after the original certification was issued: 1. “the employee requests an

extension of leave...”; 2. “[c]ircumstances described by the previous certification have changed

significantly (e.g., the duration or frequency...)”; or 3. “[t]he employer receives information that

casts doubt upon the employee's stated reason for the absence or the continuing validity of

the certification.” See 29 C.F.R. § 825.308(a-c). Deere, wisely, does not attempt to argue the

first or second.

       Deere mischievously and desperately, after firing Applewhite, changes its rationale for

requesting he complete a recertification before the June 22 permissibility date. It seeks refuge

in the third exception by first, it shares that Applewhite’s only support for his mother was to

tend to her flare-ups, excluding many of the reasons for which it approved Plaintiﬀ to support

his mother, some of which were irrespective of her episodes/flare-ups (i.e., facilitating medical

treatments, preventing self-inflicting injuries, and transporting her to appointments). Supra DMF
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¶ 31. Secondly, it claims that Applewhite’s pattern of FMLA use matched patterns that courts

have found warranted employers seeking recertification. Specifically, it argues an “abrupt

increase” in FMLA usage, as compared to the prior month, casted doubt on the continuing

validity of Applewhite’s certification. However, the patterns, which Deere relies on, originate

from cases dissimilar in nature to that of Applewhite: 1. Applewhite took leave to take care of

his parent who lived approximately 200 miles from his workplace; 2. the number of days Deere

required Applewhite to work in the oﬃce varied each month; 3. Deere was aware that telework

privileges enhanced Applewhite’s ability to support his mother without missing work.

Furthermore, the Court explained,

       ...it is plainly not reasonable to require an employee to recertify a condition more
       often than the period specified by the employee's healthcare provider if the
       employer is not challenging either the reasons for the employee's absence or the
       validity of the employee's certification.

See Harcourt at 958. Not only did Deere admit that they trusted Applewhite, the undisputed

evidence demonstrates that Deere believed Mr. Applewhite wanted to be in Moline when he

was required.13 Additionally, Deere was in direct contact with Ms. Applewhite's healthcare

provider, who declared that Mr. Applewhite's FMLA leave use was consistent with the need for

care described in the original certification. (McNamara ¶ 8.) Considering the undisputed facts,

it is not plausible that Deere requested recertification because it doubted the continuing validity

of the original certification. Consequently, Deere’s recertification request was in violation of the

FMLA, and not should be voided on multiple, independent grounds, and the original

certification should have remained controlling. It follows, that Deere was in violation of the

FMLA for denying Applewhite’s request to take leave as needed from May 7 to June 15 of

2016. As a result of Deere’s prejudice, Applewhite was unable to support his mother in-person

without receiving unexcused absences, had to hire a care provider to help in his absence

(Applewhite ¶ 15), and was subjected to disciplinary actions that concluded in the termination

of his employment.



13   Knupp notes from March 4 read, "Mark thinks that Jamaal would want to be in Moline." (Ex. D at Bates 1367.)
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Even if the court determines the basis for Deere’s early recertification request was legitimate,
Heidi Ciha did not provide an adequate deadline to complete the recertification, and was
prohibited from denying Mr. Applewhite FMLA leave until after June 8, 2016.

       The record demonstrates that Deere rigidly and unyieldingly enforced fifteen days as the

maximum time it allowed allowed Applewhite to provide medical certifications for unforeseen

absences. In regards to the FMLA paperwork that Deere’s Disability Services department

shared in April 2016, Deere made five key points of contact with Applewhite:

     1. April 21, Disability Services emailed the paperwork with Applewhite’s eligibility

         entitlement hours grossly understated;

     2. April 29, Disability Services clarified that it sent the paperwork just in case Applewhite

         wanted to take a continuous FMLA leave until June 3, 2016, instead of continuing

         with his current leave, which could take any day, intermittently, until December 2017;

     3. May 3, unit Human Resources, Ciha, intervened and demanded Applewhite complete

         the paperwork in order to take protected leave after May 6;

     4. May 6, Ciha voided Applewhite’s originally approved certification; and

     5. May 17, Disability Services corrected the FMLA paperwork by increasing Applewhite’s

         entitlement hours from 8 to approximately 400 on its eligibility notice.

Per Disability Services’ guideline and because Ciha voided Applewhite’s certification on May 6,

beginning May 7, Defendant had until fifteen days after his “first day of missed work” to return

the certification, supra DMF ¶ 37. Applewhite’s first absence from work after each of the five

key points of contact, excluding April 29 and May 3, was April 25, May 16, and May 23,

respectively, supra AMF ¶ 37a. Fifteen days after each date is: May 10, June 2, and June 8,

respectively. Deere’s inaccurate eligibility notice was discouraging, so it was in violation of the

FMLA, and cannot be considered valid. See 29 C.F.R. § 825.300(b)(1), “...the employer must

notify the employee of the employee’s eligibility to take FMLA leave...”; see also Arban v. West

Publ'g Corp., 345 F.3d 390 (6th Cir.2003), using 29 § 825.220(b) to explain that discouraging an

employee from taking leave constitutes “interfering with” FMLA rights. This is why June 8 was

the earliest date, which Deere could have used as a deadline.
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          Fifteen days from Applewhite’s first day of missed work (his first absence since Ciha

voided his original certification) was June 2. So if somehow it is determined that the inaccurate

notification on April 21 was valid, June 2 was the earliest possible recertification deadline. Still,

fifteen days from Applewhite’s first absence that occurred after Disability Services emailed the

FMLA paperwork, irrespective of when Ciha terminated his original leave, was May 10, but

Applewhite shared with Deere that despite his diligent eﬀorts, McNamara would not complete

the certification until after she could evaluate his mother on May 13, during an appointment.

Therefore, even when assuming that the paperwork emailed on April 21 was a valid

recertification request, and ignoring the undisputed fact that Applewhite’s absence on April 25

was protected and excused under the original certification, Deere should not have denied

Applewhite from taking leave until May 13, at the earliest. See 29 CFR § 825.308(d), “[a]n

employee must provide recertification...as soon as practicable under the particular facts and

circumstances.”

          Whatever date the Court determines is the correct date to measure the recertification

deadline from, it is obvious that Ciha interfered with Mr. Applewhite's FMLA rights when she

enforced a deadline that was seven days earlier than Deere’s policy and the FMLA permitted,

and disallowed him excused absences that would permit him to provide support for his mother

without adverse employment action.

Plaintiﬀ demonstrates Deere violated the FMLA when it secretly authenticated the
recertification, and blocked him from taking leave on May 16, June 2, and June 15 of 2016
(even under the care described in the recertification).

          The recertification issued by McNamara on May 13 was suﬃcient, and established Mr.

Applewhite’s mother as having a serious health condition that required his support, supra DMF

¶ 16 and AMF ¶¶ 44,44a.14 Deere did not require that Applewhite obtain a second opinion.

Instead, on May 20, it granted him FMLA leave on the basis of the recertification and thus by

its actions approved the recertification, beginning May 13, supra DMF 44, AMF 44d.

14Where it is explained that the law states a certification is suﬃcient if it complies with the following requirements: 1) issued by
health care provider; 2) provides the date of onset, expected duration, and medical facts regarding the condition; and 3) includes a
statement that the employee is needed to care for the family member. See Harcourt v. Cincinnati Bell Telephone Co., 383 F. Supp.
2d 944 - Dist. Court, SD Ohio 2005 (citing 29 U.S.C. § 2613(b)).
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Nevertheless, on June 2, Deere refused Applewhite’s leave requests for May 16 and June 2,

and issued him a written warning for the same. When Applewhite’s June 2 and 15 absences

supposedly exceeded the frequency of the flare-ups and/or duration of related incapacity

estimated in the certification, Deere did not seek recertification, despite its authorization do so

under the circumstances. See 29 C.F.R. § 825.308(c)(2); see also Holder v. Ill. Dep’t of Corrs.,

751 F.3d at 494 (7th Cir. 2014). As part of the decision to process to request recertification,

Deere could have asked McNamara whether Ms. Applewhite’s condition and Applewhite

absences were consistent with the expected need for care, see 29 C.F.R. § 825.308(e). Howver,

it contacted McNamara to authenticate the recertification, without Applewhite’s permission,

supra AMF ¶ 45. See Hancourt, explaining an employer is to request permission to verify the

authenticity of the certification with the health care provider. See 29 C.F.R. § 825.307(a). None

of the authorities cited by Deere establish that the estimated frequency and duration of

intermittent leave, act as absolute limits on the employee's entitlement to leave. Other courts

have rejected arguments similar to Deere’s “limitations argument.” See Fritz v. Phillips Serv.

Indus., Inc., 842 555 F.Supp.2d 820 (E.D.Mich.2008); see also Hansen v. Fincantieri Marine

Group, LLC, 763 F. 3d 832 (7th Cir. 2014). Like the certification in Fritz and Hansen,

McNamara's certification did not explicitly certify that Applewhite would not need leave beyond

the estimated frequency or duration. Still, Deere based its decision to fire Applewhite for an

unexcused absence on June 15, for which it refused his leave request. (Applewhite ¶ 26.)

Similar to Harcourt, the undisputed record demonstrates that Deere’s recertification, and

fifteen-day deadline practices restricted Applewhite’s FMLA rights in violation of 29 U.S.C. §

2615(a)(1). It maliciously confounded the estimates included in Ms. Applewhite's medical

recertification as absolute predictions, relied on an unwarranted phenomena that each of Ms.

Applewhite's flare-ups miraculously ended at midnight. See also Miller v. Defiance Metal

Prods., Inc., 989 F.Supp. 945, 946 (N.D.Ohio 1997) (noting that plaintiﬀ's termination due to

absenteeism caused by a medical condition constituted "an interference under FMLA").
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CONCLUSION

       For the foregoing reasons, the Court should deny Defendant’s Motion for Summary

Judgment and enter summary judgment in favor of Mr. Applewhite on each of his claims.




24 January 2020                                     Respectfully Submitted,

                                                    By: s/ Jamaal Applewhite_____
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                       CERTIFICATE OF SERVICE AND COMPLIANCE




       I hereby certify that on January 24, 2020, I electronically filed the foregoing with the

Clerk of the Court using the CM/ECF system that will send notification to all parties of record.

The argument section of this Response contains 6,999 words.




24 January 2020                                           Respectfully Submitted,

                                                          By: s/ Jamaal Applewhite
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